Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)      18-41324                                        Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Puglia Engineering Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2216 East 11th Street                                           201 Harris Avenue
                                  Tacoma, WA 98421                                                Bellingham, WA 98225
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pierce                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.pugliaengineering.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
               Case 18-41324-BDL                  Doc 21        Filed 04/17/18           Ent. 04/17/18 12:51:12                 Pg. 1 of 148
Debtor    Puglia Engineering Inc.                                                                   Case number (if known)    18-41324
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                 Case 18-41324-BDL                   Doc 21        Filed 04/17/18             Ent. 04/17/18 12:51:12                 Pg. 2 of 148
Debtor   Puglia Engineering Inc.                                                                 Case number (if known)   18-41324
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors                    50-99                                          5001-10,000                                50,001-100,000
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 18-41324-BDL               Doc 21          Filed 04/17/18            Ent. 04/17/18 12:51:12                  Pg. 3 of 148
Debtor    Puglia Engineering Inc.                                                                  Case number (if known)   18-41324
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 17, 2018
                                                  MM / DD / YYYY


                             X   /s/ Neil Turney                                                          Neil Turney
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ James L. Day                                                          Date April 17, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James L. Day
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      jday@bskd.com

                                 WSBA 20474
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)         18-41324
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 17, 2018                          X /s/ Neil Turney
                                                                       Signature of individual signing on behalf of debtor

                                                                       Neil Turney
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case 18-41324-BDL                         Doc 21            Filed 04/17/18            Ent. 04/17/18 12:51:12       Pg. 5 of 148
 Fill in this information to identify the case:
 Debtor name Puglia Engineering Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                         Check if this is an
                                                WASHINGTON
 Case number (if known):         18-41324                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BAE Systems Ship                                                                       Disputed                                                                        $769,000.00
 Repair Inc.
 Attn: Ian T. Graham
 1101 Wilson Blvd.,
 Suite 2000
 Arlington, VA 22209
 BLAST ONE                                                                                                                                                              $141,420.78
 INTERNATIONAL
 2400 LANDMARK
 WAY
 COLUMBUS, OH
 43219
 Clyde & Co.                                                                            Disputed                                                                        $803,418.00
 RE: Princess Cruise
 Lines
 101 Second Street
 24th Floor
 San Francisco, CA
 94105
 FAIRBANKS MORSE                                                                        Disputed                                                                        $237,655.79
 ENGINE
 7824 COLLECTION
 CENTER DR
 CHICAGO, IL 60693
 FASSMER                                                                                Disputed                                                                        $140,273.65
 SERVICES
 AMERICA, LLC
 3650 NW 15TH ST
 LAUDERHILL, FL
 33311
 Grow America Fund                                              Equipment;                                          $295,660.00                        $0.00            $295,660.00
 - Equipment                                                    Blanket lien on
 708 Third Ave. #710                                            equipment.
 New York, NY 10017




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Puglia Engineering Inc.                                                                            Case number (if known)         18-41324
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IBEW Pac. Coast                                                                        Unliquidated                                                                  $1,128,686.00
 Pension Fund
 IBEW Local #6
 5 Third Street
 Suite 525
 SAN FRANCISCO,
 CA 94103-3216
 IMECO, INC                                                                             Disputed                                                                        $205,700.50
 1401 CARPENTER
 AVE
 IRON MOUNTAIN, MI
 49801
 MAN DIESEL                                                                             Disputed                                                                        $372,473.78
 1600A
 BRITTMOORE RD
 Houston, TX 77043
 MOTOR-SERVICES                                                                         Disputed                                                                        $379,087.43
 HUGO STAMP
 3190 SW 4TH AVE
 FT LAUDERDALE,
 FL 33315
 PETRO CHEM                                                                                                                                                             $184,938.50
 4403 RUSSELL RD
 SUITE 108
 MUKITEO, WA
 98275
 PORT OF                                                                                                                                                                $132,936.91
 BELLINGHAM
 1801 ROEDER AVE
 PO BOX 1677
 BELLINGHAM, WA
 98227
 PORT OF SAN                                                                            Disputed                                                                        $742,887.40
 FRANCISCO
 PO BOX 7862
 SAN FRANCISCO,
 CA 94120-7862
 Princess Cruise                                                                        Disputed                                                                        $803,418.00
 Lines, Ltd
 24305 Town Center
 Drive
 Santa Clarita, CA
 91355
 San Francisco                                                                                                                                                          $244,456.06
 Public Utilities
 #60DRG60D-01
 1390 Market Street,
 7th Floor
 SAN FRANCISCO,
 CA 94102-5408




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                    Case 18-41324-BDL                       Doc 21        Filed 04/17/18              Ent. 04/17/18 12:51:12                        Pg. 7 of 148
 Debtor    Puglia Engineering Inc.                                                                            Case number (if known)         18-41324
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SAN FRANCISCO                                                                          Disputed                                                                        $254,249.41
 WATER POWER
 SEWE
 ATTN: CSB, RETAIL
 ELECTRIC
 525 GOLDEN GATE
 AVE, 3RD FLOOR
 SAN FRANCISCO,
 CA 94102
 SF Public Utilities                                                                    Disputed                                                                        $244,456.06
 Commissio
 #60DRG60D-01
 1390 Market Street,
 7th Floor
 SAN FRANCISCO,
 CA 94102-5408
 SHERWIN                                                                                                                                                                $131,639.07
 WILLIAMS-BELLING
 HAM
 1401 N STATE ST
 BELLINGHAM, WA
 98225
 WARTSILA                                                                               Disputed                                                                        $410,101.73
 DEFENSE, INC
 3617 KOPPENS
 WAY
 CHESAPEAKE, VA
 23323
 Washington State                                                                                                                                                       $190,000.00
 Dept of Revenue
 Taxpayer Account
 Admin Division
 RE: #601-323-390
 PO Box 47476
 Olympia, WA
 98504-7476




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                    Case 18-41324-BDL                       Doc 21        Filed 04/17/18              Ent. 04/17/18 12:51:12                        Pg. 8 of 148
 Fill in this information to identify the case:

 Debtor name            Puglia Engineering Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)               18-41324
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       14,267,022.70

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       14,267,022.70


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,415,349.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       11,722,903.96


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         21,138,252.96




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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              Case 18-41324-BDL                                    Doc 21                 Filed 04/17/18                        Ent. 04/17/18 12:51:12                             Pg. 9 of 148
 Fill in this information to identify the case:

 Debtor name          Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)         18-41324
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                $200.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Washington Federal
            3.1.     Balance as of 3/28/18                                  Checking                         3557                                    $53,314.69



                     Washington Federal
            3.2.     Balance as of 3/28/18                                  Checking                         4233                                     $4,184.40



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $57,699.09
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
            7.1. EH Nationhal Bank                                                                                                                   $24,322.12
                     Leasing Department
                     43385 Business Park Dr., Sute 200
                     Temecula, CA 9259
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor            Puglia Engineering Inc.                                                        Case number (If known) 18-41324
                   Name

                     0
                     Last 2 months rent



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
                     ALMA
                     PO Box 934368
                     Atlanta, GA 31193-4368

            8.1.     Prepaid Insurance                                                                                                         $100,370.00




 9.         Total of Part 2.                                                                                                               $124,692.12
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           912,580.65      -                                0.00 = ....                   $912,580.65
                                              face amount                           doubtful or uncollectible accounts




            11b. Over 90 days old:                                   9,549.73   -                               0.00 =....                        $9,549.73
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                               $922,130.38
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                           Valuation method used      Current value of
                                                                                                           for current value          debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.     San Francisco Ship Repair, Inc.                                 100%         %                                                    $0.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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 Debtor         Puglia Engineering Inc.                                                       Case number (If known) 18-41324
                Name


 17.       Total of Part 4.                                                                                                                  $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last        Net book value of      Valuation method used      Current value of
                                                      physical inventory      debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Process parts and
           supplies that are
           delivered and
           immediately installed.
           The amount changes
           daily and thus it is not
           possible to do a
           meaningful physical
           inventory. Value is
           calculated by taking the
           difference between
           purchase records
           showing "received" and
           what has been billed.                                                            $0.00                                                 $0.00



 20.       Work in progress
           Work in progress varies.                   N/A                          $1,386,493.86                                       $1,386,493.86



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                        $1,386,493.86
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                              50000 Valuation method                         Current Value                 50000

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Puglia Engineering Inc.                                                       Case number (If known) 18-41324
                Name

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           See Attachment B39
           Value is Net Book Value                                                   $137,303.44                                         $551,498.53



 40.       Office fixtures
           Included in B39.                                                                 $0.00                                                 $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Included in B39.                                                                 $0.00                                                 $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $551,498.53
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See Attachment B39.
                     Value is Net Book Value.                                         $99,354.37                                         $106,034.74



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Puglia Engineering Inc.                                                       Case number (If known) 18-41324
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           48.1.     See Asset Nos. 5268, 5379 and 5380
                     included in Attachment B39 (Skiff &
                     Trailer - Net Book Value $4,391.00;
                     Boston Whaler Skiff-net book value
                     $13,065.64; 32 foot tugboat-net book
                     value $45,395.06 ).                                                    $0.00                                                   $0.00



 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See Attachment B39.
           Value is Net Book Value.                                               $10,410,711.00                                      $11,118,473.98




 51.       Total of Part 8.                                                                                                        $11,224,508.72
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Fairhaven Shipyard
                     201 Harris Avenue,                   Debtor is
                     Bellingham, WA                       Tenant                       Unknown                                               Unknown


           55.2.     Tacoma Production
                     Shop
                     2216 East 11th Street,               Debtor is
                     Tacoma, WA                           Tenant                       Unknown                                               Unknown




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 5
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 Debtor         Puglia Engineering Inc.                                                       Case number (If known) 18-41324
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 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.pugliaengineering.com                                                  Unknown                                                    $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
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 Debtor         Puglia Engineering Inc.                                                        Case number (If known) 18-41324
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           Note Receivable from Premier                                       87,536.00 -                             87,536.00 =
           Harvest                                                    Total face amount      doubtful or uncollectible amount                      $0.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           BAE Lawsuit                                                                                                                       Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                    $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 7
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 Debtor          Puglia Engineering Inc.                                                                             Case number (If known) 18-41324
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $57,699.09

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $124,692.12

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $922,130.38

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,386,493.86

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $551,498.53

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $11,224,508.72

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $14,267,022.70             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $14,267,022.70




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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Case 18-41324-BDL   Doc 21   Filed 04/17/18   Ent. 04/17/18 12:51:12   Pg. 29 of 148
 Fill in this information to identify the case:

 Debtor name          Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)              18-41324
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    1st National Lending                          Describe debtor's property that is subject to a lien                $118,737.00                  Unknown
        Creditor's Name                               Specific equipment, Several new purchases,
                                                      Capital lease.
        1029 Hwy 6 N. #650-283
        Houston, TX 77079
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Grow America Fund -
 2.2                                                                                                                      $295,660.00                       $0.00
        Equipment                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               Equipment; Blanket lien on equipment.
        708 Third Ave. #710
        New York, NY 10017
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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 Debtor       Puglia Engineering Inc.                                                                   Case number (if know)      18-41324
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Washington Federal                             Describe debtor's property that is subject to a lien                  $6,658,972.00        Unknown
       Creditor's Name                                Large Dry Dock (Faithful Servant); Blanket
                                                      lien on all assets.
       400 - 108th Ave. NE #104
       Bellevue, WA 98004
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Washington Federal                             Describe debtor's property that is subject to a lien                      $391,980.00      Unknown
       Creditor's Name                                Blanket Lien on Personal Property
       400 - 108th Ave. NE #104
       Bellevue, WA 98004
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   Washington Federal                             Describe debtor's property that is subject to a lien                  $1,950,000.00        Unknown
       Creditor's Name                                A/R & Inventory and Equipment
       400 - 108th Ave. NE #104
       Bellevue, WA 98004
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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 Debtor       Puglia Engineering Inc.                                                                   Case number (if know)       18-41324
              Name

        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.6    Zurich Payment Bond                           Describe debtor's property that is subject to a lien                            $0.00                 $0.00
        Creditor's Name
        c/o Chad Epple @ HUB
        PO Box 3018
        Bothell, WA 98011
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                                $9,415,349.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)          18-41324
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $421.02
           AABERG'S                                                           Contingent
           1424 PUYALLUP AVE                                                  Unliquidated
           TACOMA, WA 98421                                                   Disputed
           Date(s) debt was incurred 10/2/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $43.07
           ABATIX                                                             Contingent
           PO BOX 671202                                                      Unliquidated
           DALLAS, TX 75267                                                   Disputed
           Date(s) debt was incurred     12/19/2016                          Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $72.91
           ABATIX                                                             Contingent
           PO BOX 671202                                                      Unliquidated
           DALLAS, TX 75267                                                   Disputed
           Date(s) debt was incurred     12/16/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $521.68
           ABATIX                                                             Contingent
           PO BOX 671202                                                      Unliquidated
           DALLAS, TX 75267                                                   Disputed
           Date(s) debt was incurred     12/21/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 87
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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $43.07
          ABATIX                                                              Contingent
          PO BOX 671202                                                       Unliquidated
          DALLAS, TX 75267                                                    Disputed
          Date(s) debt was incurred      12/19/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,895.36
          ABATIX CORP                                                         Contingent
          PO BOX 671202                                                       Unliquidated
          DALLAS, TX 75267-1202                                               Disputed
          Date(s) debt was incurred 4/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,795.00
          ABS AMERICAS                                                        Contingent
          5950 6TH AVE S SUITE 204                                            Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 5/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $138.27
          ACCURATE LOCK & SECURITY, INC                                       Contingent
          200 PROSPECT STREET                                                 Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 8/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $85,776.00
          ACTION CLEANING CORP                                                Contingent
          1668 NEWTON AVE                                                     Unliquidated
          SAN DIEGO, CA 92113                                                 Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,317.63
          ACTION CLEANING SERVICES                                            Contingent
          2009 IRON STREET                                                    Unliquidated
          BELLINGHAM, WA 98225-4211                                           Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,385.00
          AD. CHEMICAL TRANSPORT INC.                                         Contingent
          1210 ELKO DRIVE                                                     Unliquidated
          Sunnyvale, CA 94089                                                 Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,385.00
          ADVANCED CHEMICAL TRANSPORT                                         Contingent
          1210 ELKO DRIVE                                                     Unliquidated
          Sunnyvale, CA 94089                                                 Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,470.00
          ADVANCED CHEMICAL TRANSPORT .                                       Contingent
          1210 ELKO DRIVE                                                     Unliquidated
          Sunnyvale, CA 94089                                                 Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $132.73
          ADVANTEC MANUFACTURING USA                                          Contingent
          28336 HUNTER CREEK ROAD                                             Unliquidated
          GOLD BEACH, OR 97444                                                Disputed
          Date(s) debt was incurred 7/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,660.22
          AGGREKO LLC                                                         Contingent
          PO BOX 972562                                                       Unliquidated
          DALLAS, TX 75397-2562                                               Disputed
          Date(s) debt was incurred 6/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $976.50
          AGGREKO, LLC                                                        Contingent
          PO BOX 972562                                                       Unliquidated
          Dallas, TX 75397                                                    Disputed
          Date(s) debt was incurred      6/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,269.01
          AIRGAS USA, LLC                                                     Contingent
          PO BOX 7423                                                         Unliquidated
          PASADENA, CA 91109-7423                                             Disputed
          Date(s) debt was incurred 2/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $910.00
          ALAMEDA COMMERCIAL PROPERTIES                                       Contingent
          2900 MAIN ST                                                        Unliquidated
          ALAMEDA, CA 94501                                                   Disputed
          Date(s) debt was incurred 4/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,497.13
          ALAMEDA ELECTRICAL DISTRIBUTOR                                      Contingent
          2420 BLANDING AVE                                                   Unliquidated
          ALAMEDA, CA 94501                                                   Disputed
          Date(s) debt was incurred 7/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $378.29
          ALARMGUARD SECURITY SYSTEMS                                         Contingent
          ALARM CENTER, INC                                                   Unliquidated
          PO BOX 3407                                                         Disputed
          LACEY, WA 98509-3407
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/21/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,172.59
          ALASKAN COPPER & BRASS CO                                           Contingent
          PO BOX 749791                                                       Unliquidated
          LOS ANGELES, CA 90074-9791                                          Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,933.38
          ALBANY STEEL, INC                                                   Contingent
          536 CLEVELAND AVE                                                   Unliquidated
          ALBANY, CA 94710-1007                                               Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,649.79
          ALL AMERICAN ENGRAVING                                              Contingent
          804B OLD SAMISH RD.                                                 Unliquidated
          BELLINGHAM, WA 98229                                                Disputed
          Date(s) debt was incurred 6/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,210.87
          ALL BAY MILL & LUMBER CO                                            Contingent
          405 GREEN ISLAND RD                                                 Unliquidated
          AMERICAN CANYON, CA 94503-9649                                      Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $415.80
          ALLIANCE                                                            Contingent
          PO BOX 23804                                                        Unliquidated
          OAKLAND, CA 94623                                                   Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,679.40
          ALLIANCE                                                            Contingent
          PO BOX 23804                                                        Unliquidated
          OAKLAND, CA 94623                                                   Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,636.83
          ALLIANCE                                                            Contingent
          PO BOX 23804                                                        Unliquidated
          OAKLAND, CA 94623                                                   Disputed
          Date(s) debt was incurred 3/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $45,515.99
          ALLIANCE GAS PRODUCTS                                               Contingent
          DBA ALLIANCE WELDING SUPPLIES                                       Unliquidated
          PO BOX 23804                                                        Disputed
          OAKLAND, CA 94623
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/7/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $39,862.04
          ALLIED BARTON SECURITY SERVICE                                      Contingent
          161 WASHINGTON ST., SUITE 600                                       Unliquidated
          EIGHT TOWER BRIDGE                                                  Disputed
          CONSHOCKEN, PA 19428
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/16/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $247.88
          ALLIED ELECTRONICS INC                                              Contingent
          7151 JACK NEWELL BLVD S                                             Unliquidated
          FORT WORTH, TX 76118                                                Disputed
          Date(s) debt was incurred 10/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $79,232.91
          ALLIED UNIVERSAL SECURITY SERV                                      Contingent
          161 WASHINGTON STREET                                               Unliquidated
          SUITE 600                                                           Disputed
          CONSHOHOCKEN, PA 19428
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,053.00
          AMCLYDE                                                             Contingent
          240 E PALTO BLVD                                                    Unliquidated
          St PAUL, MN 55107                                                   Disputed
          Date(s) debt was incurred      5/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,818.43
          AMERGENT                                                            Contingent
          3553 ATLANTIC AVE, STE A158                                         Unliquidated
          Long BEACH, CA 90807                                                Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,250.00
          American Arbitration                                                Contingent
          120 Broadway                                                        Unliquidated
          21st Floor                                                          Disputed
          New York, NY 10271
                                                                             Basis for the claim:
          Date(s) debt was incurred      11/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,727.26
          AMERICAN METAL BEARING CO                                           Contingent
          7191 ACACIA AVE                                                     Unliquidated
          GARDEN GROVE, CA 92841-3907                                         Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $119,427.30
          AMERICAN SCAFFOLD                                                   Contingent
          PO BOX 13835                                                        Unliquidated
          SAN DIEGO, CA 92710                                                 Disputed
          Date(s) debt was incurred 8/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $596.76
          AMERICAN TEXTILE & SUPPLY                                           Contingent
          PO BOX 7000                                                         Unliquidated
          SAN PABLO, CA 94806-7000                                            Disputed
          Date(s) debt was incurred 2/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,983.43
          AMERICAN VULKAN CORPORATION                                         Contingent
          2525 DUNDEE ROAD                                                    Unliquidated
          WINTER HAVEN, FL 33884                                              Disputed
          Date(s) debt was incurred 1/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $542.99
          AMEX                                                                Contingent
          PO Box 650448                                                       Unliquidated
          Dallas, TX 75265-0448                                               Disputed
          Date(s) debt was incurred 11/1/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,300.00
          AMNAV                                                               Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,300.00
          AMNAV                                                               Contingent
          201 BURMA RD                                                        Unliquidated
          Rd OAKLAND, CA 94607                                                Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $50,600.00
          AmNav Maritime                                                      Contingent
          #4945755304                                                         Unliquidated
          201 Burma Road                                                      Disputed
          Oakland, CA 94607
                                                                             Basis for the claim:
          Date(s) debt was incurred      12/6/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $95,450.00
          AMNAV MARITIME CORPORATION                                          Contingent
          201 BURMA ROAD                                                      Unliquidated
          OAKLAND, CA 94607                                                   Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,586.00
          ANCHOR QEA, LLC                                                     Contingent
          720 OLIVE WAY                                                       Unliquidated
          SUITE 1900                                                          Disputed
          SEATTLE, WA 98101
                                                                             Basis for the claim:
          Date(s) debt was incurred      5/5/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,282.48
          ANDERSON HUNTER LAW FIRM, P.S.                                      Contingent
          PO BOX 5397                                                         Unliquidated
          EVERETT, WA 98206                                                   Disputed
          Date(s) debt was incurred 9/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,971.00
          Anita's Interiors, Inc.                                             Contingent
          3418 Pacific Hwy                                                    Unliquidated
          Tacoma, WA 98418                                                    Disputed
          Date(s) debt was incurred      10/20/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $58,426.02
          APPLETON MARINE, INC.                                               Contingent
          3030 E PERSHING ST                                                  Unliquidated
          APPLETON, WI 54911-8671                                             Disputed
          Date(s) debt was incurred 1/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,254.01
          APPLIED INDUSTRIAL TECH                                             Contingent
          P.O. BOX 100538                                                     Unliquidated
          PASADENA, CA 91189                                                  Disputed
          Date(s) debt was incurred 6/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,568.02
          ARAMARK                                                             Contingent
          PO BOX 101179                                                       Unliquidated
          PASADENA, CA 91189                                                  Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,138.25
          ARAMARK REFRESHMENT SERVICES                                        Contingent
          41460 CHRISTY ST                                                    Unliquidated
          FREMONT, CA 94538                                                   Disputed
          Date(s) debt was incurred 6/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,182.27
          ARC DOCUMENT SOLUTIONS LLC                                          Contingent
          PO BOX 192224                                                       Unliquidated
          SAN FRANCISCO, CA 94119-2224                                        Disputed
          Date(s) debt was incurred 12/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $31,211.10
          ARCHBRIGHT                                                          Contingent
          5601 6TH AVENUE SOUTH                                               Unliquidated
          SUITE 400                                                           Disputed
          SEATTLE, WA 98108
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/31/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,900.00
          ARCHIE MCFAUL COMPASS ADJUSTER                                      Contingent
          202 REDONDO DRIVE                                                   Unliquidated
          PITTSBURG, CA 94565-5931                                            Disputed
          Date(s) debt was incurred 3/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,741.30
          ASKEW INDUSTRIAL CORP                                               Contingent
          13071 ARCTIC CIRCLE                                                 Unliquidated
          SANTA FE SPRINGS, CA 90670                                          Disputed
          Date(s) debt was incurred 6/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,591.90
          AT&T                                                                Contingent
          PO BOX 5025                                                         Unliquidated
          CAROL STREAM, IL 60197-5025                                         Disputed
          Date(s) debt was incurred 6/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,321.92
          AVALON LOGO WEAR                                                    Contingent
          25182 KERRI LN                                                      Unliquidated
          RAMONA, CA 92065-4741                                               Disputed
          Date(s) debt was incurred 2/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $769,000.00
          BAE Systems Ship Repair Inc.                                        Contingent
          Attn: Ian T. Graham                                                 Unliquidated
          1101 Wilson Blvd., Suite 2000                                       Disputed
          Arlington, VA 22209
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $859.50
          BALANCING SERVICES                                                  Contingent
          5512 6TH AVE S                                                      Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 8/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $503.69
          BARRON HEATING & AIR COND. INC                                      Contingent
          5100 PACIFIC HWY                                                    Unliquidated
          FERNDALE, WA 98248                                                  Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $379.00
          BAUER MOYNIHAN                                                      Contingent
          2101 FOURTH ST                                                      Unliquidated
          SUITE 2400                                                          Disputed
          SEATTLE, WA 98121
                                                                             Basis for the claim:
          Date(s) debt was incurred      10/6/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,260.00
          BAY PROPELLER                                                       Contingent
          2900 MAIN ST                                                        Unliquidated
          SUITE 2100                                                          Disputed
          ALAMEDA, CA 94501-7739
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $63.00
          BAY SHRED                                                           Contingent
          PO BOX 131681                                                       Unliquidated
          Carlsbad, CA 92013                                                  Disputed
          Date(s) debt was incurred      1/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,170.85
          BAY VALVE SERVICE & ENGINEERIN                                      Contingent
          3948 TEAL COURT                                                     Unliquidated
          BENICIA, CA 94510-1202                                              Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,692.29
          BECK ELECTRIC SUPPLY                                                Contingent
          2775 GOODRICK AVE                                                   Unliquidated
          RICHMOND, CA 94801                                                  Disputed
          Date(s) debt was incurred 12/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,424.88
          BELZONA TECHNOLOGY OF WA                                            Contingent
          22021 W. BOSTIAN RD A2                                              Unliquidated
          WOODINVILLE, WA 98072                                               Disputed
          Date(s) debt was incurred 8/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $7.31
          BERG SCAFFOLDING CO, INC.                                           Contingent
          2130 EAST D STREET                                                  Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 5/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $335.55
          BFG Marine                                                          Contingent
          200 Candlewood Rd                                                   Unliquidated
          Bay Shore, NY 11706                                                 Disputed
          Date(s) debt was incurred      3/6/2018                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $421.35
          BIG DOG CITY CORP                                                   Contingent
          2060 NEWCOMB AVE                                                    Unliquidated
          SAN FRANCISCO, CA 94124                                             Disputed
          Date(s) debt was incurred 3/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $406.94
          BIG DOG CITY CORPORATION                                            Contingent
          2060 NEWCOMB AVENUE                                                 Unliquidated
          SAN FRANCISCO, CA 94124                                             Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,778.47
          BIRCH EQUIPMENT RENTAL & SALES                                      Contingent
          PO BOX 30918                                                        Unliquidated
          BELLINGHAM, WA 98228                                                Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $61.00
          BLACK & DECKER (U.S.) INC                                           Contingent
          DEPT CH 14231                                                       Unliquidated
          PALATINE, IL 60055-4231                                             Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $141,420.78
          BLAST ONE INTERNATIONAL                                             Contingent
          2400 LANDMARK WAY                                                   Unliquidated
          COLUMBUS, OH 43219                                                  Disputed
          Date(s) debt was incurred 9/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,630.79
          BOA OLD BAE CHARGES                                                 Contingent
          100 N. Tyron Street                                                 Unliquidated
          Charlotte, NC 28255                                                 Disputed
          Date(s) debt was incurred 6/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Boilermaker-Blacksmith Ntl Pen                                      Contingent
          IBB Local #549                                                      Unliquidated
          754 Minnesota Avenue
                                                                              Disputed
          Kansas City, KS 66101-2766
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $918.00
          BRADLEY'S PLASTIC BAG CO.                                           Contingent
          9130 FIRESTONE BLVD                                                 Unliquidated
          DOWNEY, CA 90241-5319                                               Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,700.00
          BRENNA CRAIN                                                        Contingent
          7 GRANITE CIRCLE                                                    Unliquidated
          BELLINGHAM, WA 98229                                                Disputed
          Date(s) debt was incurred 10/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,870.00
          Bridgewell Resources                                                Contingent
          #0228618001                                                         Unliquidated
          PO Box 23372                                                        Disputed
          Tigard, OR 97281
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/3/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,791.62
          BRUCE S. ROSENBLATT & ASSOC.                                        Contingent
          2201 BDWY                                                           Unliquidated
          SUITE 504                                                           Disputed
          OAKLAND, CA 94612-3068
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/8/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,070.08
          BUCKY'S FIFE                                                        Contingent
          4600 PACIFIC HWY E.                                                 Unliquidated
          FIFE, WA 98424                                                      Disputed
          Date(s) debt was incurred 7/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,397.59
          BUILDERS ALLIANCE                                                   Contingent
          3801 HANNEGAN RD                                                    Unliquidated
          BELLINGHAM, WA 98226                                                Disputed
          Date(s) debt was incurred 10/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $785.00
          BUSINESS PRINTING COMPANY, INC                                      Contingent
          PO BOX 19786                                                        Unliquidated
          1965 GILLESPIE WAY #103                                             Disputed
          EL CAJON, CA 92020
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,914.00
          C-MAP NORWAY AS                                                     Contingent
          PO BOX 212 4379                                                     Unliquidated
          EGERSUND FRANCISCO, NORWAY                                          Disputed
          Date(s) debt was incurred 1/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,351.00
          CALCO FENCE, INC                                                    Contingent
          4568 CONTRACTORS PL                                                 Unliquidated
          LIVERMORE, CA 94551-4805                                            Disputed
          Date(s) debt was incurred 12/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $338.77
          CALIFORNIA SERVICE TOOL, INC                                        Contingent
          3875 BAY CENTER PL                                                  Unliquidated
          HAYWARD, CA 94545                                                   Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $235.66
          CARPENTER RIGGING & SUPPLY                                          Contingent
          222 NAPOLEON STREET                                                 Unliquidated
          SAN FRANCISCO, CA 94124                                             Disputed
          Date(s) debt was incurred 2/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $27,145.94
          CARTER LEDYARD & MILBURN LLP                                        Contingent
          2 WALL ST                                                           Unliquidated
          NEW YORK, NY 10005                                                  Disputed
          Date(s) debt was incurred 8/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,505.90
          CASCADE ENGINEERING SERVICES,                                       Contingent
          6640 185TH AVE NE                                                   Unliquidated
          REDMOND, WA 98052                                                   Disputed
          Date(s) debt was incurred 9/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,001.55
          CASCADE FRICTION MATERIALS INC                                      Contingent
          314 EAST PUYALLUP                                                   Unliquidated
          TACOMA, WA 98421-1387                                               Disputed
          Date(s) debt was incurred 9/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $350.00
          CASCADE METALLURGICAL, INC                                          Contingent
          PO BOX 848                                                          Unliquidated
          KENT, WA 98035-0848                                                 Disputed
          Date(s) debt was incurred 8/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.76
          CASCADE NATURAL GAS                                                 Contingent
          PO BOX 990065                                                       Unliquidated
          BOISE, ID 83799                                                     Disputed
          Date(s) debt was incurred 10/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $530.15
          CASCADE NATURAL GAS                                                 Contingent
          PO BOX 990065                                                       Unliquidated
          BOISE, ID 83799                                                     Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,589.87
          CASCADE NATURAL GAS                                                 Contingent
          PO BOX 990065                                                       Unliquidated
          BOISE, ID 83799                                                     Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $467.75
          CASCADE NATURAL GAS                                                 Contingent
          PO BOX 990065                                                       Unliquidated
          BOISE, ID 83799                                                     Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,013.11
          Cascade Natural Gas                                                 Contingent
          PO Box 5600                                                         Unliquidated
          Bismark, ND 58506                                                   Disputed
          Date(s) debt was incurred      3/7/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,117.00
          CDTFA (BOE)                                                         Contingent
          PO Box 942879                                                       Unliquidated
          450 N Street                                                        Disputed
          Sacremento, CA 94279
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/2/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $549.10
          CENTER HARDWARE COMPANY, INC                                        Contingent
          3003 THIRD STREET                                                   Unliquidated
          SAN FRANCISCO, CA 94107-2500                                        Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $290.01
          CENTRAL WELDING SUPPLY                                              Contingent
          PO BOX 179                                                          Unliquidated
          NORTH LAKEWOOD, WA 98259                                            Disputed
          Date(s) debt was incurred 8/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $232.28
          CENTURYLINK                                                         Contingent
          PO BOX 91155                                                        Unliquidated
          SEATTLE, WA 98111                                                   Disputed
          Date(s) debt was incurred      10/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,766.45
          CERTIFIED INSPECTION SERVICES                                       Contingent
          1069 SW 328TH COURT                                                 Unliquidated
          FEDERAL WAY, WA 98023                                               Disputed
          Date(s) debt was incurred 8/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $959.12
          CESCO                                                               Contingent
          7251 CROSS COUNTY ROAD                                              Unliquidated
          NORTH CHARLESTON, SC 29418                                          Disputed
          Date(s) debt was incurred 4/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,555.00
          Chapel Steel                                                        Contingent
          PO Box 951928                                                       Unliquidated
          DALLAS, TX 75395-1928                                               Disputed
          Date(s) debt was incurred 2/7/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,074.50
          CHARTER INDUSTRIAL SUPPLY                                           Contingent
          7832 OSTROW ST                                                      Unliquidated
          SAN DIEGO, CA 92111                                                 Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,521.88
          CINCINNATI INC.                                                     Contingent
          PO BOX 44719                                                        Unliquidated
          MADISON, WI 53744-4719                                              Disputed
          Date(s) debt was incurred 3/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $252.17
          CINTAS                                                              Contingent
          7700 BENT BRANCH DR.                                                Unliquidated
          STE 130                                                             Disputed
          Ste IRVING, TX 75063
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/18/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,067.61
          CINTAS CORPORATION                                                  Contingent
          7700 BENT BRANCH DRIVE                                              Unliquidated
          STE 130                                                             Disputed
          IRVING, TX 75063
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/16/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $254.60
          CITY GLASS AND UPHOLSTERY                                           Contingent
          1943 TACOMA AVENUE SOUTH                                            Unliquidated
          TACOMA, WA 98402                                                    Disputed
          Date(s) debt was incurred 11/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $578.58
          CITY OF BELLINGHAM                                                  Contingent
          UTILITY PAYMENT                                                     Unliquidated
          PO BOX 35012                                                        Disputed
          SEATTLE, WA 98124
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/17/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $950.50
          CITY OF SEATTLE                                                     Contingent
          FIRE DEPT                                                           Unliquidated
          220 THIRD AVE S                                                     Disputed
          SEATTLE, WA 98104
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $96.93
          CITY TREASURER                                                      Contingent
          PO BOX 11010                                                        Unliquidated
          Tacoma, WA 98411                                                    Disputed
          Date(s) debt was incurred      9/26/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,382.40
          CLEAN HARBORS ENVIRONMENTAL SE                                      Contingent
          PO BOX 3442                                                         Unliquidated
          BOSTON, MA 02241-3442                                               Disputed
          Date(s) debt was incurred 8/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $384.80
          CLEAN WATER                                                         Contingent
          306A FRONT STREET                                                   Unliquidated
          LYNEN, WA 98264                                                     Disputed
          Date(s) debt was incurred 9/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $79.79
          CLICK NETWORK                                                       Contingent
          PO BOX 11625                                                        Unliquidated
          TACOMA, WA 98411                                                    Disputed
          Date(s) debt was incurred      10/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $803,418.00
          Clyde & Co.
          RE: Princess Cruise Lines                                           Contingent
          101 Second Street                                                   Unliquidated
          24th Floor                                                          Disputed
          San Francisco, CA 94105
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,638.81
          COAST CRANE COMPANY                                                 Contingent
          DEPT 33655                                                          Unliquidated
          PO BOX 39000                                                        Disputed
          SAN FRANCISCO, CA 94139
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/26/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,958.34
          COAST MARINE & IND SUPPLY                                           Contingent
          1480 BANCROFT AVENUE                                                Unliquidated
          SAN FRANCISCO, CA 94124                                             Disputed
          Date(s) debt was incurred 9/9/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $95.80
          COAST PRODUCTS INC.                                                 Contingent
          954 ELLIOT AVE. WEST                                                Unliquidated
          SEATTLE, WA 98119                                                   Disputed
          Date(s) debt was incurred 8/29/2014
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $330.00
          COHO MARINE                                                         Contingent
          PO BOX 16235                                                        Unliquidated
          SEATTLE, WA 98116                                                   Disputed
          Date(s) debt was incurred      6/19/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,027.22
          COLUMBIA-SENTINEL ENGINEERS                                         Contingent
          4000 DELDRIDGE WAY SW STE 300                                       Unliquidated
          SEATTLE, WA 98106                                                   Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.19
          COMMENCEMENT BAY MARIN                                              Contingent
          820 E D ST                                                          Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 3/5/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $42,083.63
          COMPASS WATER SOLUTIONS INC                                         Contingent
          15542 MOSHER AVE                                                    Unliquidated
          TUSTIN, CA 92780                                                    Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.25
          CONCENTRA                                                           Contingent
          PO BOX 3700                                                         Unliquidated
          Rancho CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 5/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,273.05
          CONCENTRA                                                           Contingent
          PO BOX 3700                                                         Unliquidated
          Rancho CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 1/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $399.20
          CONCENTRA                                                           Contingent
          PO BOX 3700                                                         Unliquidated
          Rancho CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 1/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $255.70
          CONCENTRA                                                           Contingent
          PO BOX 3700                                                         Unliquidated
          Rancho CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.25
          CONCENTRA                                                           Contingent
          PO BOX 3700                                                         Unliquidated
          Rancho CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 5/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $153.63
          CONCENTRA                                                           Contingent
          PO BOX 3700                                                         Unliquidated
          RANCHO CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 4/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          CONOCO 76                                                           Contingent
          PO BOX 530970                                                       Unliquidated
          ATLANTA, GA 30353                                                   Disputed
          Date(s) debt was incurred      10/4/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,467.14
          CONSOLIDATED ELECTRICAL DIST.                                       Contingent
          901 CENTER STREET                                                   Unliquidated
          TACOMA, WA 98409                                                    Disputed
          Date(s) debt was incurred 11/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $217.70
          CONSTRUCTION SUPPLY CO, INC.                                        Contingent
          201 YORK ST                                                         Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 10/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $226.95
          CONSTRUCTION SUPPLY CO, INC.                                        Contingent
          201 YORK ST                                                         Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 11/12/2013
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,725.00
          CONTROLLED DEHUMIDIFICATION                                         Contingent
          5931 FORD COURT                                                     Unliquidated
          BRIGHTON, MI 48116                                                  Disputed
          Date(s) debt was incurred 8/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $179.82
          COPY WRIGHTS                                                        Contingent
          5715 PACIFIC HWY E                                                  Unliquidated
          Tacoma, WA 98424                                                    Disputed
          Date(s) debt was incurred 8/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,309.90
          CSI PAINT                                                           Contingent
          257 WALNUT ST                                                       Unliquidated
          NAPA, CA 94559                                                      Disputed
          Date(s) debt was incurred      3/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $429.00
          CT CORPORATION                                                      Contingent
          PO BOX 4349                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 6/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $439.00
          CT CORPORATION                                                      Contingent
          PO BOX 4349                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 6/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $750.00
          CURTIN MARITIME                                                     Contingent
          1500 PIER C ST                                                      Unliquidated
          Long Beach, CA 90813                                                Disputed
          Date(s) debt was incurred 1/18/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $121,348.00
          CUSTOM SHIP INTERIORS, INC                                          Contingent
          PO BOX 882                                                          Unliquidated
          SOLOMONS, MD 20688                                                  Disputed
          Date(s) debt was incurred 2/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $441.51
          D & B TRUCKING                                                      Contingent
          1905 E. LINCOLN AVENUE                                              Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 12/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,925.31
          D&G MECHANICAL INSULATION                                           Contingent
          PO BOX 1330                                                         Unliquidated
          Sumner, WA 98390-9998                                               Disputed
          Date(s) debt was incurred 11/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,325.60
          David A. Soles                                                      Contingent
          RE: North Coast Electric                                            Unliquidated
          1416 E. Thomas Street                                               Disputed
          SEATTLE, WA 98112
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/7/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $451.80
          DEPT OF LABOR & INDUSTRIES                                          Contingent
          BOILER, PRESSURE VESSEL                                             Unliquidated
          PO BOX 44410                                                        Disputed
          Olympia, WA 98504-4410
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/14/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          DEPT OF LABOR & INDUSTRIES                                          Contingent
          PO BOX 34974                                                        Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,344.09
          DESIGN SPACE                                                        Contingent
          PO BOX 31001                                                        Unliquidated
          Pasadena, CA 91110                                                  Disputed
          Date(s) debt was incurred      8/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,344.09
          DESIGN SPACE                                                        Contingent
          PO BOX 31001                                                        Unliquidated
          Pasadena, CA 91110                                                  Disputed
          Date(s) debt was incurred      7/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $754.14
          DESIGN SPACE                                                        Contingent
          PO BOX 31001                                                        Unliquidated
          Pasadena, CA 91110                                                  Disputed
          Date(s) debt was incurred      7/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,767.06
          DESIGN SPACE MODULAR BLDGS                                          Contingent
          2725 FITZGERALD DR.                                                 Unliquidated
          DIXON, CA 95260                                                     Disputed
          Date(s) debt was incurred 6/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $72.47
          DHL                                                                 Contingent
          16592 COLLECTIONS CENTER DR                                         Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred 1/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $202.93
          DIABLO TROPHIES & AWARDS                                            Contingent
          1922 CONTRA COSTA BLVD                                              Unliquidated
          Pleasant Hill, CA 94523                                             Disputed
          Date(s) debt was incurred 9/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $23,250.00
          DIEHL ENGINEERING, INC                                              Contingent
          PO BOX 1573                                                         Unliquidated
          KINGSTON, WA 98346                                                  Disputed
          Date(s) debt was incurred 9/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $840.64
          DIMENSIONAL SILK SCREEN                                             Contingent
          3750 DALBERGIA ST                                                   Unliquidated
          SAN DIEGO, CA 92113                                                 Disputed
          Date(s) debt was incurred 9/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $72.74
          DIRECT TV                                                           Contingent
          PO BOX 105249                                                       Unliquidated
          ATLANTA, GA 30348-5249                                              Disputed
          Date(s) debt was incurred 11/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $268.00
          DISTRIBUTION INTERNATIONAL                                          Contingent
          9000 RAILWOOD DR                                                    Unliquidated
          HOUSTON, TX 77078                                                   Disputed
          Date(s) debt was incurred 4/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $602.39
          DME INC                                                             Contingent
          14001 MARQUARDT AVE                                                 Unliquidated
          SANTA FE SPRINGS, CA 90670                                          Disputed
          Date(s) debt was incurred 6/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,086.00
          DMH INDUSTRIAL                                                      Contingent
          2701 HEWITT AVE                                                     Unliquidated
          EVERETT, WA 98201                                                   Disputed
          Date(s) debt was incurred      5/25/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $322.00
          DMV                                                                 Contingent
          1377 Fell Street                                                    Unliquidated
          SAN FRANCISCO, CA 94117                                             Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $33,741.00
          DRS MARINE INC                                                      Contingent
          525 CHESTNUT ST                                                     Unliquidated
          VALLEJO, CA 94590                                                   Disputed
          Date(s) debt was incurred      12/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,529.10
          DUNLAP TOWING                                                       Contingent
          PO BOX 593                                                          Unliquidated
          LA CONNER, WA 98257                                                 Disputed
          Date(s) debt was incurred 9/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,966.04
          EAGLE HYDRAULICS                                                    Contingent
          1308 W MAIN ST                                                      Unliquidated
          AUBURN, WA 98001                                                    Disputed
          Date(s) debt was incurred 8/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $800.00
          EDGE ANALYTICAL                                                     Contingent
          1620 S WALNUT ST                                                    Unliquidated
          BURLINGTON, WA 98233                                                Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,973.40
          EDGE INSPECTION GROUP, INC                                          Contingent
          4576 E 2ND ST                                                       Unliquidated
          SUITE C                                                             Disputed
          BENICIA, CA 94510
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,980.00
          ELECTRIC MOTOR SERVICE, LLC                                         Contingent
          1928 MILWAUKEE WAY                                                  Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 10/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $639.16
          ELECTRO RENT CORP.                                                  Contingent
          PO BOX 198582                                                       Unliquidated
          ATLANTA, CA 30384                                                   Disputed
          Date(s) debt was incurred 6/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,398.75
          ELLIOTT BAY DESIGN GROUP                                            Contingent
          5305 SHILSHOLE AVE NW                                               Unliquidated
          SUITE 100                                                           Disputed
          SEATTLE, WA 98107
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ELTECH ELECTRIC                                                     Contingent
          2123 W ELMORE ST                                                    Unliquidated
          SEATTLE, WA 98199                                                   Disputed
          Date(s) debt was incurred      9/25/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $970.24
          EMERALD SERVICES, INC                                               Contingent
          2600 NORTH CENTRAL EXPRESSWAY                                       Unliquidated
          SUITE 200                                                           Disputed
          RICHARDSON, TX 75080
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/15/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,210.27
          Employment Developent Dept                                          Contingent
          745 Franklin Street                                                 Unliquidated
          Suite 400                                                           Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/2007
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,958.45
          ENVIRONMENTAL RECOVERY SERVICE                                      Contingent
          13940 LIVE OAK AVE                                                  Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred 4/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $915.63
          ENVIROSERV                                                          Contingent
          13940 LIVE OAK AVENUE                                               Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred 9/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $715.00
          ENVIROSERV                                                          Contingent
          13940 LIVE OAK AVENUE                                               Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,955.00
          ENVIROSERV                                                          Contingent
          13940 LIVE OAK AVENUE                                               Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,110.00
          ENVIROSERV                                                          Contingent
          13940 LIVE OAK AVENUE                                               Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $652.18
          ENVIROSERV                                                          Contingent
          13940 LIVE OAK AVENUE                                               Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,846.64
          EPIC INDUSTRIAL SERVICES, INC                                       Contingent
          2434 E. 11TH STREET                                                 Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 8/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,257.53
          ERKER'S AUTO REPAIR                                                 Contingent
          2311 PACIFIC HWY E                                                  Unliquidated
          Tacoma, WA 98424                                                    Disputed
          Date(s) debt was incurred 9/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,539.00
          ERSHIGS                                                             Contingent
          P.O. BOX 951743                                                     Unliquidated
          DALLAS, TX 75395                                                    Disputed
          Date(s) debt was incurred      6/7/2017                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $118,692.00
          EVERETT ENGINEERING                                                 Contingent
          PO BOX 12100                                                        Unliquidated
          EVERETT, WA 98206-2100                                              Disputed
          Date(s) debt was incurred 6/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,121.90
          EVERETT STEEL                                                       Contingent
          PO BOX 776                                                          Unliquidated
          EVERETT, WA 98206                                                   Disputed
          Date(s) debt was incurred      1/31/2018                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,935.00
          EVOQUA                                                              Contingent
          28563 NETWORK PL                                                    Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred      1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,985.00
          EVOQUA                                                              Contingent
          28563 Network Pl.                                                   Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,889.09
          EVOQUA WATER TECHNOLOGIES LLC                                       Contingent
          2 MILLTOWN CT.                                                      Unliquidated
          UNION, NJ 07083                                                     Disputed
          Date(s) debt was incurred 2/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,058.90
          EXPRESS SERVICES                                                    Contingent
          PO BOX 844277                                                       Unliquidated
          LOS ANGELES, CA 90084-4277                                          Disputed
          Date(s) debt was incurred 9/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,285.00
          EXPRESS SUPPLY AND STEEL, LLC                                       Contingent
          PO BOX 189                                                          Unliquidated
          RACELAND, LA 70394-0189                                             Disputed
          Date(s) debt was incurred 12/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $237,655.79
          FAIRBANKS MORSE ENGINE                                              Contingent
          7824 COLLECTION CENTER DR                                           Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred 2/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,361.00
          FAIRLEAD INTEGRATED POWER                                           Contingent
          912 VENTURES WAY                                                    Unliquidated
          CHESAPEAKE, VA 23320                                                Disputed
          Date(s) debt was incurred 3/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,612.70
          FARWEST STEEL CORPORATION                                           Contingent
          PO BOX 1026                                                         Unliquidated
          EUGENE, OR 97440                                                    Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $140,273.65
          FASSMER SERVICES AMERICA, LLC                                       Contingent
          3650 NW 15TH ST                                                     Unliquidated
          LAUDERHILL, FL 33311                                                Disputed
          Date(s) debt was incurred 5/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,529.00
          FASTCO, INC.                                                        Contingent
          2306 E 11TH STREET                                                  Unliquidated
          Tacoma, WA 98421                                                    Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,016.72
          FASTENAL COMPANY                                                    Contingent
          PO BOX 1286                                                         Unliquidated
          WINONA, MN 55987-1286                                               Disputed
          Date(s) debt was incurred 6/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $328.39
          FEDEX                                                               Contingent
          PO BOX 94515                                                        Unliquidated
          Palatine, IL 60094-4515                                             Disputed
          Date(s) debt was incurred 9/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $73.13
          FEDEX                                                               Contingent
          PO BOX 94515                                                        Unliquidated
          PALATINE, IL 60094-4515                                             Disputed
          Date(s) debt was incurred 10/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,013.63
          FEDEX FREIGHT                                                       Contingent
          PO BOX 223125                                                       Unliquidated
          PITTSBURGH, PA 15251-2125                                           Disputed
          Date(s) debt was incurred 6/16/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,433.31
          FERGUSON ENTERPRISES INC.#3007                                      Contingent
          WOLSELEY INDUSTRIAL GROUP                                           Unliquidated
          PO BOX 847411                                                       Disputed
          Dallas, TX 75284-7411
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $118.00
          FIRE DEPARTMENT                                                     Contingent
          901 FAWCETT AVE                                                     Unliquidated
          TACOMA, WA 98402-5699                                               Disputed
          Date(s) debt was incurred 10/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $218.36
          FIRE KING OF SEATTLE                                                Contingent
          240 S HOLDEN ST                                                     Unliquidated
          Seattle, WA 98108                                                   Disputed
          Date(s) debt was incurred 8/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,093.44
          FITTINGS INC                                                        Contingent
          PO BOX 3647                                                         Unliquidated
          SEATTLE, WA 98134                                                   Disputed
          Date(s) debt was incurred      10/17/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,265.00
          FLAME SPRAY                                                         Contingent
          250 S CHICAGO ST                                                    Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred      6/2/2017                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,327.10
          FLEET PRIDE                                                         Contingent
          PO BOX 847118                                                       Unliquidated
          DALLAS, TX 75284-7118                                               Disputed
          Date(s) debt was incurred 12/14/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $412.12
          FLOY TAG                                                            Contingent
          4616 UNION BAY PLACE NE                                             Unliquidated
          SEATTLE, WA 98105                                                   Disputed
          Date(s) debt was incurred 5/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $360.00
          FLUKE ELECTRONICS                                                   Contingent
          PO BOX 9090                                                         Unliquidated
          EVERETT, WA 98206-9090                                              Disputed
          Date(s) debt was incurred 5/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $112.50
          FOLEY & MANSFIELD                                                   Contingent
          250 MARQUETTE AVE                                                   Unliquidated
          SUITE 1200                                                          Disputed
          MINNEAPOLIS, MN 55401
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $105.00
          FRANCISCAN OCCUPATIONAL HEALTH                                      Contingent
          PORT CLINIC                                                         Unliquidated
          PO BOX 31001-1553                                                   Disputed
          PASADENA, CA 91110
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/29/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,415.00
          FREEMAN MARINE EQUIPMENT                                            Contingent
          28336 HUNTER CREEK ROAD                                             Unliquidated
          GOLD BEACH, OR 97444                                                Disputed
          Date(s) debt was incurred 6/20/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,590.00
          FRYER-KNOWLES                                                       Contingent
          205 S DAWSON ST.                                                    Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred      11/17/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,100.00
          GAHAGAN & BRYANT ASSOC., INC.                                       Contingent
          600 MARTIN AVENUE                                                   Unliquidated
          SUITE 200                                                           Disputed
          ROHNERT PARK, CA 94928
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/27/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,174.00
          GARDCO PAUL N. GARDNER CO. IN                                       Contingent
          316 NE FIRST STREET                                                 Unliquidated
          POMPANO BEACH, FL 33060                                             Disputed
          Date(s) debt was incurred 12/12/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,423.18
          GARDICO INCORPORATED                                                Contingent
          4912 14TH AVE NW                                                    Unliquidated
          Seattle, WA 98107                                                   Disputed
          Date(s) debt was incurred 9/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,735.20
          GATEWAY CONTROLS                                                    Contingent
          2205 QUEEN STREET                                                   Unliquidated
          BELLINGHAM, WA 98229                                                Disputed
          Date(s) debt was incurred 7/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $294.00
          GEAR WORKS                                                          Contingent
          PO BOX 80886                                                        Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred      10/20/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,362.51
          GILLS ELECTRIC                                                      Contingent
          2410 WEBSTER ST                                                     Unliquidated
          OAKLAND, CA 94612                                                   Disputed
          Date(s) debt was incurred 1/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,900.00
          GPA VALUATION                                                       Contingent
          7522 28TH ST ST WEST                                                Unliquidated
          UNIVERSITY PLACE, WA 98466                                          Disputed
          Date(s) debt was incurred 5/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,272.22
          GRAINGER                                                            Contingent
          DEPT. 825105745                                                     Unliquidated
          PO BOX 419267                                                       Disputed
          KANSAS CITY, MO 64141-6267
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/22/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,382.25
          GRANTHAM ENGINEERING                                                Contingent
          7807 HILLANDALE DR                                                  Unliquidated
          SAN DIEGO, CA 92120-1508                                            Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,810.00
          GRATING PACIFIC                                                     Contingent
          2775 FRONT ST                                                       Unliquidated
          Woodburn, OR 97071                                                  Disputed
          Date(s) debt was incurred 10/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,462.50
          GREEN MARINE                                                        Contingent
          111 CENTRAL AVE                                                     Unliquidated
          Metarie, LA 70001                                                   Disputed
          Date(s) debt was incurred      1/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,480.00
          GRISWOLD INDUSTRIES DBA CLA-VA                                      Contingent
          PO BOX 1325                                                         Unliquidated
          NEWPORT BEACH, CA 92659                                             Disputed
          Date(s) debt was incurred 2/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $352.44
          GUARDIAN SECURITY                                                   Contingent
          1743 1ST AVE S                                                      Unliquidated
          SEATTLE, WA 98134                                                   Disputed
          Date(s) debt was incurred 2/22/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,842.50
          HANSON BRIDGETT                                                     Contingent
          425 MARKET ST                                                       Unliquidated
          26TH FLOOR                                                          Disputed
          SAN FRANCISCO, CA 94105
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $106.80
          HARBOR ISLAND SUPPLY                                                Contingent
          230 S CHICAGO ST                                                    Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $29,313.70
          HARDWARE SALES                                                      Contingent
          2034 JAMES ST                                                       Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 8/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,123.50
          HARDWARE SPECIALTY CO INC                                           Contingent
          3419 11TH AVE SW                                                    Unliquidated
          SEATTLE, WA 98134                                                   Disputed
          Date(s) debt was incurred 12/20/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $46,747.09
          HARRIS ELECTRIC                                                     Contingent
          4020 23RD AVE WEST                                                  Unliquidated
          SEATTLE, WA 98119                                                   Disputed
          Date(s) debt was incurred 7/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $150.70
          HART HEALTH                                                         Contingent
          PO BOX 94044                                                        Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred      12/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,685.00
          HAWKEYE PHOTOGRAPHY                                                 Contingent
          PO BOX 449                                                          Unliquidated
          SANTA CLARA, CA 95052                                               Disputed
          Date(s) debt was incurred 12/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          HEGER DRY DOCK INC.                                                 Contingent
          531 CONCORD ST                                                      Unliquidated
          HOLLISTON, MA 01746                                                 Disputed
          Date(s) debt was incurred 12/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,704.10
          HELIX DESIGN GROUP                                                  Contingent
          6021 12TH STREET EAST                                               Unliquidated
          SUITE 201                                                           Disputed
          TACOMA, WA 98424
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $590.65
          HELWIG CARBON PRODUCTS, INC                                         Contingent
          8900 W TOWER AVENUE                                                 Unliquidated
          MILWAUKEE, WI 53224                                                 Disputed
          Date(s) debt was incurred 10/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $117,588.81
          HERC RENTALS INC.                                                   Contingent
          PO BOX 650280                                                       Unliquidated
          DALLAS, TX 75265-0280                                               Disputed
          Date(s) debt was incurred 7/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,326.24
          HERRON VALLEY, INC.                                                 Contingent
          BAYSIDE SERVICES                                                    Unliquidated
          PO BOX 216                                                          Disputed
          EVERSON, WA 98247
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,384.15
          HOLT OF CALIFORNIA                                                  Contingent
          PO BOX 100001                                                       Unliquidated
          SACRAMENTO, CA 95813                                                Disputed
          Date(s) debt was incurred 1/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,338.72
          HOLT OF CALIFORNIA                                                  Contingent
          PO BOX 100001                                                       Unliquidated
          SACRAMENTO, CA 95813                                                Disputed
          Date(s) debt was incurred 11/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $381.59
          HOME DEPOT CREDIT CARD SERVICE                                      Contingent
          PO BOX 9001043                                                      Unliquidated
          DEPT 32-2501611390                                                  Disputed
          LOUISVILLE, KY 40290-1043
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/5/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,235.00
          HUB INTERNATIONAL NORTHWEST                                         Contingent
          PO BOX 749672                                                       Unliquidated
          LOS ANGELES, CA 90074-9672                                          Disputed
          Date(s) debt was incurred 3/23/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,547.88
          HUBBELL ELECTRIC HEATER CO                                          Contingent
          PO BOX 288                                                          Unliquidated
          SRATFORD, CT 06615-0288                                             Disputed
          Date(s) debt was incurred 1/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,053.00
          HYDRALIFT AMCLYDE, INC                                              Contingent
          240 EAST PLATO BLVD                                                 Unliquidated
          Saint Paul, MN 55107                                                Disputed
          Date(s) debt was incurred 5/19/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,086.69
          IAN-CONRAD BERGAN                                                   Contingent
          1001 E. BELMONT ST.                                                 Unliquidated
          PENSACOLA, FL 32501                                                 Disputed
          Date(s) debt was incurred 10/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,128,686.00
          IBEW Pac. Coast Pension Fund
          IBEW Local #6                                                       Contingent
          5 Third Street                                                      Unliquidated
          Suite 525                                                           Disputed
          SAN FRANCISCO, CA 94103-3216
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $205,700.50
          IMECO, INC                                                          Contingent
          1401 CARPENTER AVE                                                  Unliquidated
          IRON MOUNTAIN, MI 49801                                             Disputed
          Date(s) debt was incurred 5/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,418.23
          INDCON                                                              Contingent
          LOCKBOX 776046                                                      Unliquidated
          Chicago, IL 60677                                                   Disputed
          Date(s) debt was incurred      2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $418.42
          INDUSTRIAL CONTAINER SERVICE                                        Contingent
          749 GALLERIA BLVD                                                   Unliquidated
          Roseville, CA 95678                                                 Disputed
          Date(s) debt was incurred 4/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $75.00
          INDUSTRIAL CONTAINER SERVICE                                        Contingent
          749 GALLERIA BLVD                                                   Unliquidated
          Roseville, CA 95678                                                 Disputed
          Date(s) debt was incurred 1/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,729.10
          INDUSTRIAL CONTAINER SERVICE                                        Contingent
          749 GALLERIA BLVD                                                   Unliquidated
          Roseville, CA 95678                                                 Disputed
          Date(s) debt was incurred 12/27/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,560.60
          INDUSTRIAL CONTAINER SERVICES                                       Contingent
          749 GALLERIA BLVD                                                   Unliquidated
          Roseville, CA 95678                                                 Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,418.23
          INDUSTRIAL SAFETY SUPPLY CORPO                                      Contingent
          PO BOX 8686                                                         Unliquidated
          EMERYVILLE, CA 94662                                                Disputed
          Date(s) debt was incurred 10/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,738.88
          INDUSTRIAL SUPPLY                                                   Contingent
          2314 E BAKERVIEW RD SUITE 101                                       Unliquidated
          BELLINGHAM, WA 98226                                                Disputed
          Date(s) debt was incurred 10/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,173.59
          INGENIUM GROUP LLC                                                  Contingent
          2255 BARHAM DR                                                      Unliquidated
          SUITE A                                                             Disputed
          ESCONDIDO, CA 92029
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/14/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,103.16
          INSTRUMART                                                          Contingent
          35 Green Mountain Drive                                             Unliquidated
          South Burlington, VT 05403                                          Disputed
          Date(s) debt was incurred 6/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          Int'l Assoc. of Machinists
          IAM Local #1414                                                     Contingent
          1300 Connecticut Avenue NW                                          Unliquidated
          Suite 300                                                           Disputed
          Washington, DC 20036-1711
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $948.58
          INTEGRA                                                             Contingent
          PO BOX 2966                                                         Unliquidated
          Milwaukee, WI 53201                                                 Disputed
          Date(s) debt was incurred      10/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Internal Revenue Service                                            Contingent
          PO Box 37940                                                        Unliquidated
          Hartford, CT 06176-7940                                             Disputed
          Date(s) debt was incurred 12/31/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          International Association of Machinists
          IAM Local #1414                                                     Contingent
          1300 Connecticut Avenue NW                                          Unliquidated
          Suite 300                                                           Disputed
          Washington, DC 20036-1711
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,124.48
          INTERNATIONAL PAINT, LLC                                            Contingent
          PO BOX 847202                                                       Unliquidated
          DALLAS, TX 75284-7202                                               Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,577.23
          INTERWEST METALS                                                    Contingent
          2208 PACIFIC HWY E                                                  Unliquidated
          TACOMA, WA 98424                                                    Disputed
          Date(s) debt was incurred 8/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $260.00
          INVERTECH, INC.                                                     Contingent
          1404 INDUSTRIAL DRIVE, SUITE 1                                      Unliquidated
          SALINE, MI 48176                                                    Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.12
          IRON MOUNTAIN                                                       Contingent
          1000 CAMPUS DR                                                      Unliquidated
          Collegeville, PA 19426                                              Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,600.00
          JACOBS                                                              Contingent
          5161 ELLSWORTH ST                                                   Unliquidated
          Chicago, CA 92110                                                   Disputed
          Date(s) debt was incurred 3/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,780.00
          JACOBS CONSULTING                                                   Contingent
          5161 ELLSWORTH ST                                                   Unliquidated
          SAN DIEGO, CA 92110                                                 Disputed
          Date(s) debt was incurred 3/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,989.00
          JDI ELECTRICAL SERVICES                                             Contingent
          624 COMMERCE CT                                                     Unliquidated
          MANTECA, CA 95336                                                   Disputed
          Date(s) debt was incurred 4/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,914.00
          JEPPESEN INC.                                                       Contingent
          225 W Santa Clara St                                                Unliquidated
          Suite 1600                                                          Disputed
          San Jose, CA 95113-1752
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/22/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,477.50
          Johannessen & Associates                                            Contingent
          5413 Meridian Ave. N.                                               Unliquidated
          Suite B                                                             Disputed
          Seattle, WA 98103-6166
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/20/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,400.00
          JOHN STURM                                                          Contingent
          111 SIOUX DRIVE                                                     Unliquidated
          MOUNT VERNON, WA 98273                                              Disputed
          Date(s) debt was incurred 10/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $81.63
          JOHNSONS HOME & GARDEN                                              Contingent
          26625 MAPLE VALLEY-BLK DIA RD                                       Unliquidated
          MAPLE VALLEY, WA 98038                                              Disputed
          Date(s) debt was incurred 8/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $14.75
          JOHNSTONE SUPPLY                                                    Contingent
          2100 Dabney Rd                                                      Unliquidated
          Richmond, VA 23230                                                  Disputed
          Date(s) debt was incurred 3/2/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $51,903.35
          JOTUN PAINTS, INC.                                                  Contingent
          9203 HIGHWAY 23                                                     Unliquidated
          BELLE CHASSE, LA 70037                                              Disputed
          Date(s) debt was incurred 11/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $70.49
          KAMAN INDUSTRIAL TECHNOLOGIES                                       Contingent
          FILE 25356                                                          Unliquidated
          LOS ANGELES, CA 90074-5356                                          Disputed
          Date(s) debt was incurred 7/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30,500.00
          KERN OIL FILTER RECYCLING, LLC                                      Contingent
          2355 RD                                                             Unliquidated
          SUITE 192                                                           Disputed
          DELANO, CA 93215
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/18/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $196.35
          KLEEN BLAST                                                         Contingent
          A DIVISION OF CANAM MINERALS                                        Unliquidated
          50 OAK COURT SUITE 210                                              Disputed
          DANVILLE, CA 94526
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,641.89
          KLEEN BLAST ABRASIVES                                               Contingent
          50 OAK COURT, STE 210                                               Unliquidated
          Ste DANVILLE, CA 94526                                              Disputed
          Date(s) debt was incurred 1/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,721.79
          KLEEN INDUSTRIAL SERVICES                                           Contingent
          50 OAK COURT                                                        Unliquidated
          SUITE 210                                                           Disputed
          DANVILLE, CA 94526
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/29/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $735.84
          KNIGHTS ADVANTAGE LLC                                               Contingent
          22021 W BOSTIAN RD                                                  Unliquidated
          SUITE A2                                                            Disputed
          WOODINVILLE, WA 98072
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/17/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,100.00
          KOFFLER ELECTRICAL MECHANICAL                                       Contingent
          527 WHITNEY ST                                                      Unliquidated
          SAN LEANDRO, CA 94577                                               Disputed
          Date(s) debt was incurred 4/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,270.26
          KONICA MINOLTA                                                      Contingent
          21719 NETWORK PL                                                    Unliquidated
          CHICAGO, IL 60673-1217                                              Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $884.58
          KTA-TATOR, INC.                                                     Contingent
          115 TECHNOLOGY DR                                                   Unliquidated
          PITTSBURGH, PA 15275                                                Disputed
          Date(s) debt was incurred 8/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,598.73
          LAMONS                                                              Contingent
          PO BOX 203061                                                       Unliquidated
          DALLAS, TX 75320                                                    Disputed
          Date(s) debt was incurred      9/27/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $289.22
          LARSON GROSS                                                        Contingent
          2211 RIMLAND DR., STE. 422                                          Unliquidated
          BELLINGHAM, WA 98226                                                Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,920.00
          Law Office of Benjamin E Kelly                                      Contingent
          Re: Volt Services Corp                                              Unliquidated
          9218 Roosevelt Way NE                                               Disputed
          SEATTLE, WA 98115
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/19/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $733.89
          LES SCHWAB TIRE                                                     Contingent
          3805 IRONGATE RD                                                    Unliquidated
          BELLINGHAM, WA 98226                                                Disputed
          Date(s) debt was incurred 9/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $437.57
          LFS INC                                                             Contingent
          851 COHO WAY                                                        Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 11/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $791.35
          LIFTING GEAR HIRE CORP                                              Contingent
          9925 SOUTH INDUSTRIAL DR                                            Unliquidated
          Bridgeview, IL 60455                                                Disputed
          Date(s) debt was incurred 1/4/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $875.00
          LLOYDS REGISTER QUALITY ASSURA                                      Contingent
          PO BOX 301030                                                       Unliquidated
          DALLAS, TX 75303-1030                                               Disputed
          Date(s) debt was incurred 6/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,234.06
          LYNDEN SHEET METAL INC                                              Contingent
          837 EVERGREEN ST                                                    Unliquidated
          Lynden, WA 98264                                                    Disputed
          Date(s) debt was incurred 1/26/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $58,753.00
          MACKAY COMMUNICATIONS INC                                           Contingent
          PO BOX 60925                                                        Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred 5/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,054.40
          MADISON COMPANY                                                     Contingent
          27 BUSINESS PARK DRIVE                                              Unliquidated
          BRANFORD, CT 06405                                                  Disputed
          Date(s) debt was incurred 9/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,950.16
          MALLORY SAFETY & SUPPLY                                             Contingent
          PO BOX 2068                                                         Unliquidated
          LONGVIEW, WA 98632                                                  Disputed
          Date(s) debt was incurred 8/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $372,473.78
          MAN DIESEL                                                          Contingent
          1600A BRITTMOORE RD                                                 Unliquidated
          Houston, TX 77043                                                   Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,852.21
          MARCO                                                               Contingent
          3425 EAST LOCUST ST                                                 Unliquidated
          DAVENPORT, IA 52803                                                 Disputed
          Date(s) debt was incurred 1/16/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Marine Carpenters Pension Fund
          United Brotherhood of Carpente                                      Contingent
          Local # 2236                                                        Unliquidated
          PO Box 2510                                                         Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,965.50
          MARINE EXPRESS INC.                                                 Contingent
          2102 KELLEY CT.                                                     Unliquidated
          PITTSBURG, CA 94565                                                 Disputed
          Date(s) debt was incurred 4/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $29,452.33
          MARINE SYSTEMS, INC.                                                Contingent
          PO BOX 3430                                                         Unliquidated
          PADUCAH, KY 42002                                                   Disputed
          Date(s) debt was incurred 5/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $104,929.75
          MARINE VACUUM SERVICE                                               Contingent
          PO BOX 24263                                                        Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred 5/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $836.00
          MARK MORRIS ASSOCIATES                                              Contingent
          907 7TH AVE NORTH                                                   Unliquidated
          EDMONDS, WA 98020                                                   Disputed
          Date(s) debt was incurred 1/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.70
          MATHESON TRI-GAS INC                                                Contingent
          DEPT LA 23793                                                       Unliquidated
          Pasadena, CA 91185                                                  Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $997.83
          MATHESON TRI-GAS INC                                                Contingent
          DEPT 3028 PO BOX 123028                                             Unliquidated
          Dallas, TX 75312                                                    Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $51.70
          MATHESON TRI-GAS INC                                                Contingent
          DEPT LA 23793                                                       Unliquidated
          Pasadena, CA 91185                                                  Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,693.04
          MATTHEWS MECHANICAL                                                 Contingent
          33480 WESTERN AVE                                                   Unliquidated
          UNION CITY, CA 94587                                                Disputed
          Date(s) debt was incurred 2/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $350.00
          MCCAMPBELL ANALYTICAL, INC                                          Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $571.00
          MCCAMPBELL ANALYTICAL, INC                                          Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $290.00
          MCCAMPBELL ANALYTICAL, INC                                          Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $756.00
          MCCAMPBELL ANALYTICAL, INC                                          Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $72.00
          MCCAMPBELL ANALYTICAL, INC.                                         Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $372.00
          MCCAMPBELL ANALYTICAL, INC.                                         Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,296.00
          MCCAMPBELL ANALYTICAL, INC.                                         Contingent
          1534 WILLOW PASS ROAD                                               Unliquidated
          Pittsburg, CA 94565                                                 Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,611.31
          MCEVOY OIL CO                                                       Contingent
          PO BOX 28400                                                        Unliquidated
          BELLINGHAM, WA 98228                                                Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,657.36
          MCGUIRE BEARING CO                                                  Contingent
          947 SE MARKET ST                                                    Unliquidated
          PORTLAND, OR 97214                                                  Disputed
          Date(s) debt was incurred 7/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,627.59
          MCMASTER-CARR SUPPLY CO                                             Contingent
          PO BOX 7690                                                         Unliquidated
          CHICAGO, IL 60680-7690                                              Disputed
          Date(s) debt was incurred 8/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,154.88
          MD MARINE ELECTRIC                                                  Contingent
          672 EAST 11TH STREET                                                Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 10/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $322.50
          MECHPRO INC                                                         Contingent
          1320 26TH ST NW #4                                                  Unliquidated
          Auburn, WA 98001                                                    Disputed
          Date(s) debt was incurred      12/27/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $320.00
          MEDI                                                                Contingent
          4814 E 2ND ST                                                       Unliquidated
          BENICIA, CA 94510                                                   Disputed
          Date(s) debt was incurred      10/24/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $320.00
          MEDICAL ELECTRONIC DEVICES                                          Contingent
          4814 EAST SECOND ST                                                 Unliquidated
          BENICIA, CA 94510                                                   Disputed
          Date(s) debt was incurred 10/24/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,188.09
          MICAH JAQUAY                                                        Contingent
          1636 AMY CT.                                                        Unliquidated
          BELLINGHAM, WA 98226                                                Disputed
          Date(s) debt was incurred 6/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $550.00
          MIS CONSTRUCTION SOFTWARE, INC                                      Contingent
          1314 26TH ST                                                        Unliquidated
          EVERETT, WA 98201                                                   Disputed
          Date(s) debt was incurred 10/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,984.12
          MISSION JANITORIAL & ABRASIVE                                       Contingent
          9292 ACTIVITY RD                                                    Unliquidated
          SAN DIEGO, CA 92126-4425                                            Disputed
          Date(s) debt was incurred 12/13/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,478.26
          MOBILE MODULAR MGMT CORP. MCGR                                      Contingent
          PO BOX 45043                                                        Unliquidated
          SAN FRANCISCO, CA 94145-0043                                        Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $113.90
          Mobile Modular Portable Storag                                      Contingent
          5700 LAS POSITAS ROAD                                               Unliquidated
          Livermore, CA 94551                                                 Disputed
          Date(s) debt was incurred 1/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $16.99
          MOBILE MODULAR Portable Storag                                      Contingent
          5700 LAS POSITAS ROAD                                               Unliquidated
          Livermore, CA 94551                                                 Disputed
          Date(s) debt was incurred 7/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          MONKEYBRAINS                                                        Contingent
          286 12TH ST                                                         Unliquidated
          SAN FRANCISCO, CA 94103                                             Disputed
          Date(s) debt was incurred 2/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $81.56
          MOORE MEDICAL                                                       Contingent
          PO BOX 99718                                                        Unliquidated
          CHICAGO, IL 60696                                                   Disputed
          Date(s) debt was incurred      9/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $62.77
          MORSE STEEL                                                         Contingent
          3002 W. ILLINOIS                                                    Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 10/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $541.19
          MORTON MCGOLDRICK PS                                                Contingent
          PO BOX 1533                                                         Unliquidated
          TACOMA, WA 98401                                                    Disputed
          Date(s) debt was incurred 8/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,044.09
          MOTION INDUSTRIES                                                   Contingent
          28976 HOPKINS ST                                                    Unliquidated
          SUITE H                                                             Disputed
          HAYWARD, CA 94545
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/26/2013
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $379,087.43
          MOTOR-SERVICES HUGO STAMP                                           Contingent
          3190 SW 4TH AVE                                                     Unliquidated
          FT LAUDERDALE, FL 33315                                             Disputed
          Date(s) debt was incurred 3/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,008.96
          MSC INDUSTRIAL SUPPLY                                               Contingent
          PO BOX 382070                                                       Unliquidated
          PITTSBURGH, PA 15250                                                Disputed
          Date(s) debt was incurred 7/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.88
          MT HOOD FASTENERS                                                   Contingent
          PO BOX 14811                                                        Unliquidated
          PORTLAND, OR 97293                                                  Disputed
          Date(s) debt was incurred 9/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,368.00
          MYRIAD INDUSTRIES                                                   Contingent
          3454 E STREET                                                       Unliquidated
          San Diego, CA 92102                                                 Disputed
          Date(s) debt was incurred 2/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,430.00
          MYRIAD INDUSTRIES                                                   Contingent
          3454 E STREET                                                       Unliquidated
          San Diego, CA 92102                                                 Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,938.00
          MYRIAD INDUSTRIES                                                   Contingent
          3454 E STREET                                                       Unliquidated
          San Diego, CA 92102                                                 Disputed
          Date(s) debt was incurred 2/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $291.60
          NATIONAL SAFETY                                                     Contingent
          6910 S 196TH ST                                                     Unliquidated
          Kent, WA 98032                                                      Disputed
          Date(s) debt was incurred      3/23/2018                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $948.82
          NELSON FASTENER SYSTEM                                              Contingent
          7900 W RIDGE RD.                                                    Unliquidated
          PO BOX 4019                                                         Disputed
          ELYRIA, OH 44036
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/29/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,258.32
          NESS CAMPBELL CRANE & RIGGING                                       Contingent
          PO BOX 20517                                                        Unliquidated
          PORTLAND, OR 97294                                                  Disputed
          Date(s) debt was incurred 12/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,614.10
          NEW PIG CORPORATION                                                 Contingent
          ONE PORK AVE                                                        Unliquidated
          TIPTON, PA 16684-0304                                               Disputed
          Date(s) debt was incurred 4/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $4.17
          NEWARK ELECTRONICS                                                  Contingent
          300 S. RIVERSIDE PLAZA                                              Unliquidated
          SUITE 2200                                                          Disputed
          CHICAGO, IL 60606
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/6/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $52.29
          NORMED                                                              Contingent
          PO BOX 3644                                                         Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred      12/19/2016                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,683.10
          NORTH AMERICAN CRANE BUREAU                                         Contingent
          930 WILLISTON PARK POINT                                            Unliquidated
          LAKE MARY, FL 32746                                                 Disputed
          Date(s) debt was incurred 9/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,325.60
          North Coast Electric                                                Contingent
          1836 Racine Street                                                  Unliquidated
          Bellingham, WA 98229                                                Disputed
          Date(s) debt was incurred 4/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,865.93
          NORTH COAST ELECTRIC                                                Contingent
          1836 RACINE ST.                                                     Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 8/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,005.00
          NORTHWEST MARINE CHEMIST                                            Contingent
          PO BOX 7084                                                         Unliquidated
          TACOMA, WA 98417                                                    Disputed
          Date(s) debt was incurred 10/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,235.00
          NORTHWEST RADIATION SERVICES                                        Contingent
          11539 PALATINE AVENUE NORTH                                         Unliquidated
          SEATTLE, WA 98133-8618                                              Disputed
          Date(s) debt was incurred 6/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $324.04
          NORTHWEST WIRE ROPE & SLING CO                                      Contingent
          1952 MILWAUKEE WAY                                                  Unliquidated
          Tacoma, WA 98421                                                    Disputed
          Date(s) debt was incurred 3/9/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $17.90
          NORTHWEST WIRE ROPE & SLING CO                                      Contingent
          1952 MILWAUKEE WAY                                                  Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 9/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $450.00
          NPFVOA VESSEL SAFETY PROGRAM                                        Contingent
          1900 W EMERSON                                                      Unliquidated
          SUITE 101                                                           Disputed
          Seattle, WA 98119
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/20/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,922.41
          NW STEEL & PIPE, INC.                                               Contingent
          PO BOX 11247                                                        Unliquidated
          TACOMA, WA 98411                                                    Disputed
          Date(s) debt was incurred 9/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $982.98
          OASYS OFFICE AUTOMATION SYSTEM                                      Contingent
          1575 PORT DRIVE                                                     Unliquidated
          BURLINGTON, WA 98233                                                Disputed
          Date(s) debt was incurred 10/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,057.76
          OCCUPATIONAL HEALTH CENTERS                                         Contingent
          PO BOX 3700                                                         Unliquidated
          RANCHO CUCAMONGA, CA 91729                                          Disputed
          Date(s) debt was incurred 3/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $295.74
          OFFICE DEPOT                                                        Contingent
          PO BOX 6403                                                         Unliquidated
          SIOUX FALLS, SD 57117                                               Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,551.84
          OFFICE DEPOT                                                        Contingent
          PO BOX 6403                                                         Unliquidated
          SIOUX FALLS, SD 57117                                               Disputed
          Date(s) debt was incurred 2016/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $295.74
          OFFICE DEPOT                                                        Contingent
          PO BOX 6403                                                         Unliquidated
          SIOUX FALLS, SD 57117                                               Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $879.84
          OFFICE TEAM                                                         Contingent
          PO BOX 743295                                                       Unliquidated
          LOS ANGELES, CA 90074-3294                                          Disputed
          Date(s) debt was incurred 3/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $457.50
          OIL RE-REFINING COMPANY, INC                                        Contingent
          4150 N SUTTLE RD                                                    Unliquidated
          PORTLAND, OR 97217                                                  Disputed
          Date(s) debt was incurred 2/9/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $258.95
          OMNI PACKING & SEAL CO, INC.                                        Contingent
          132 S ORCAS STREET                                                  Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $356.31
          ONECALL                                                             Contingent
          PO BOX 206821                                                       Unliquidated
          DALLAS, TX 75320                                                    Disputed
          Date(s) debt was incurred      12/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Operating Engineers Trust Fund
          OE Local #3                                                         Contingent
          100 Corson Street                                                   Unliquidated
          Suite 100                                                           Disputed
          Pasadena, CA 91103
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Pac Coast Shipyards Pen. Fund                                       Contingent
          Laborer's Local #886                                                Unliquidated
          PO Box 2510
                                                                              Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Pac Coast Shipyards Pen. Fund                                       Contingent
          UA Local #38                                                        Unliquidated
          PO Box 2510
                                                                              Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Pac Coast Shipyards Pens Fund                                       Contingent
          Sheet Metal Workers Local #104                                      Unliquidated
          PO Box 2510
                                                                              Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Pac. Coast Shipyards Pens Fund                                      Contingent
          Painters Local #1176                                                Unliquidated
          PO Box 2510
                                                                              Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,334.56
          PACIFIC MACHINE INC.                                                Contingent
          8601 38TH AVE SW                                                    Unliquidated
          LAKEWOOD, WA 98499                                                  Disputed
          Date(s) debt was incurred 9/20/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $467.71
          PACIFIC MACHINERY & TOOL STEEL                                      Contingent
          3445 NW LUZON ST.                                                   Unliquidated
          PORTLAND, OR 97210-1694                                             Disputed
          Date(s) debt was incurred 10/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $105.85
          PACIFIC OFFICE AUTOMATION                                           Contingent
          1114 PACIFIC AVENUE                                                 Unliquidated
          TACOMA, WA 98402                                                    Disputed
          Date(s) debt was incurred 7/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $187.47
          PACIFIC OFFICE AUTOMATION                                           Contingent
          PO BOX 41602                                                        Unliquidated
          PHILADELPHIA, PA 19101-1602                                         Disputed
          Date(s) debt was incurred 10/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,921.26
          PACIFIC RADAR                                                       Contingent
          12310 HIGHWAY 99, SUITE 132                                         Unliquidated
          EVERETT, WA 98204-7556                                              Disputed
          Date(s) debt was incurred 9/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $36,432.55
          PACIFIC SECURITY                                                    Contingent
          2009 IRON STREET                                                    Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 9/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $26,645.52
          PACIFIC WELDING SUPPLIES LLC                                        Contingent
          PO BOX 111240                                                       Unliquidated
          TACOMA, WA 98411                                                    Disputed
          Date(s) debt was incurred 8/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,107.20
          PAPE MATERIAL HANDLING                                              Contingent
          PO BOX 5077                                                         Unliquidated
          PORTLAND, OR 97208                                                  Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,450.28
          PARAMOUNT SUPPLY CO                                                 Contingent
          2367 LINCOLN AVE                                                    Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 9/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,355.63
          PARK PRESIDIO                                                       Contingent
          1300 A 25TH ST                                                      Unliquidated
          San Francisco, CA 94107                                             Disputed
          Date(s) debt was incurred 4/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $304.48
          Patenaude & Felix, Law offices                                      Contingent
          19401 40th Avenue West Ste 280                                      Unliquidated
          Lynnwood, WA 98036                                                  Disputed
          Date(s) debt was incurred 2/26/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,908.19
          PCCI                                                                Contingent
          PO BOX 84162                                                        Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred      9/14/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $368.47
          PCS                                                                 Contingent
          PO BOX 80455                                                        Unliquidated
          Las VEGAS, NV 89180                                                 Disputed
          Date(s) debt was incurred 2/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $726.02
          PDM                                                                 Contingent
          PO BOX 740965                                                       Unliquidated
          LOS ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,156.25
          Pentegra Retirement Services                                        Contingent
          701 WESTCHESTER AVE                                                 Unliquidated
          SUITE 320E                                                          Disputed
          WHITE PLAINS, NY 10604
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/10/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,156.25
          Pentegra Retirement Services                                        Contingent
          108 Corporate Park Drive                                            Unliquidated
          White Plains, NY 10604                                              Disputed
          Date(s) debt was incurred 7/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,305.80
          PERFORMANCE CONTRACTING INC.                                        Contingent
          422 S FOREST STREET                                                 Unliquidated
          SEATTLE, WA 98134                                                   Disputed
          Date(s) debt was incurred 9/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,320.48
          PERINE DANFORTH LLC                                                 Contingent
          820 SOUTH ADAMS ST.                                                 Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 10/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $184,938.50
          PETRO CHEM                                                          Contingent
          4403 RUSSELL RD                                                     Unliquidated
          SUITE 108                                                           Disputed
          MUKITEO, WA 98275
                                                                             Basis for the claim:
          Date(s) debt was incurred      8/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $26,811.40
          PHILIPS, ERLEWINE, GIVEN & CAR                                      Contingent
          39 MESA STREET, SUITE 201                                           Unliquidated
          THE PRESIDIO                                                        Disputed
          SAN FRANCISCO, CA 94129
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/15/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,187.21
          PIERCE COUNTY BUDGET & FINANCE                                      Contingent
          950 Fawcett Ave                                                     Unliquidated
          Suite 100                                                           Disputed
          Tacoma, WA 98402
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $36,075.00
          PIERSIDE COATINGS LLC                                               Contingent
          4739 UNIVERSITY WAY                                                 Unliquidated
          #160                                                                Disputed
          SEATTLE, WA 98105
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $479.26
          PITNEY BOWES                                                        Contingent
          PO BOX 371887                                                       Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred      12/12/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $22,480.57
          PLATT ELECTRIC SUPPLY                                               Contingent
          PO BOX 2858                                                         Unliquidated
          PORTLAND, WA 97208                                                  Disputed
          Date(s) debt was incurred 9/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,060.70
          POGOZONE INTERNET SERVICES                                          Contingent
          PO BOX 974                                                          Unliquidated
          LYNDEN, WA 98264                                                    Disputed
          Date(s) debt was incurred 10/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $132,936.91
          PORT OF BELLINGHAM                                                  Contingent
          1801 ROEDER AVE                                                     Unliquidated
          PO BOX 1677                                                         Disputed
          BELLINGHAM, WA 98227
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $742,887.40
          PORT OF SAN FRANCISCO                                               Contingent
          PO BOX 7862                                                         Unliquidated
          SAN FRANCISCO, CA 94120-7862                                        Disputed
          Date(s) debt was incurred 8/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,280.15
          PORTLAND AT ST. PAUL, LLC                                           Contingent
          PO BOX 2015                                                         Unliquidated
          TACOMA, WA 98401                                                    Disputed
          Date(s) debt was incurred 7/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,165.74
          PPG ARCHITECTURAL FINISHES                                          Contingent
          PO BOX 842409                                                       Unliquidated
          BOSTON, MA 02284-2409                                               Disputed
          Date(s) debt was incurred 10/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $31,760.40
          PRAXAIR DISTRIBUTION INC.                                           Contingent
          PO BOX 120812                                                       Unliquidated
          DEPT 0812                                                           Disputed
          DALLAS, TX 75312
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/22/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $803,418.00
          Princess Cruise Lines, Ltd                                          Contingent
          24305 Town Center Drive                                             Unliquidated
          Santa Clarita, CA 91355                                             Disputed
          Date(s) debt was incurred 5/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $640.26
          PROBUILD                                                            Contingent
          PO BOX 2009                                                         Unliquidated
          MILTON, WA 98354                                                    Disputed
          Date(s) debt was incurred      10/12/2017                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,990.00
          PROEST SOFTWARE, INC                                                Contingent
          17065 CAMINO SAN BERNARDO                                           Unliquidated
          SUITE 150                                                           Disputed
          SAN DIEGO, CA 92127
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,150.00
          PUGET SOUND CLEAN AIR AGENCY                                        Contingent
          1904 THIRD AVE                                                      Unliquidated
          SUITE 105                                                           Disputed
          SEATTLE, WA 98101
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/20/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,899.15
          PUGET SOUND ENERGY                                                  Contingent
          BOT-01H                                                             Unliquidated
          PO BOX 91269                                                        Disputed
          BELLEVUE, WA 98009
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/11/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,532.74
          PUGET SOUND PIPE & SUPPLY CO.                                       Contingent
          PO BOX 97010                                                        Unliquidated
          KENT, WA 98064                                                      Disputed
          Date(s) debt was incurred 8/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $230.00
          PUMP TECH                                                           Contingent
          12020 SE 32ND STREET                                                Unliquidated
          SUITE 2                                                             Disputed
          BELLEVUE, WA 98005
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $572.38
          QUILL.COM                                                           Contingent
          PO BOX 37600                                                        Unliquidated
          PHILADELPHIA, PA 19101-0600                                         Disputed
          Date(s) debt was incurred 9/26/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,822.39
          R. STAHL, INC                                                       Contingent
          13259 N PROMENADE BLVD                                              Unliquidated
          STAFFORD, TX 77477                                                  Disputed
          Date(s) debt was incurred 5/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,822.40
          R. STAHL, INC                                                       Contingent
          13259 N PROMENADE BLVD                                              Unliquidated
          STAFFORD, TX 77477                                                  Disputed
          Date(s) debt was incurred 2/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.00
          RAINIER COLLECTION SERVICES                                         Contingent
          PO Box 3622                                                         Unliquidated
          Bellevue, WA 98009                                                  Disputed
          Date(s) debt was incurred 1/15/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $900.00
          RAINIER ENVIRONMENTAL LAB                                           Contingent
          5013 PACIFIC HWY                                                    Unliquidated
          SUITE 20                                                            Disputed
          FIFE, WA 98424
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,517.29
          RAPID PREP LLC - WA                                                 Contingent
          44 CROSS PARK AVE                                                   Unliquidated
          NORTH KINGSTON, RI 02852                                            Disputed
          Date(s) debt was incurred 9/7/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,198.63
          RAYMOND HANDLING CONCEPTS                                           Contingent
          41400 BOYCE ROAD                                                    Unliquidated
          FREMONT, CA 94538                                                   Disputed
          Date(s) debt was incurred 6/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,432.62
          READY REFRESH                                                       Contingent
          PO BOX 856158                                                       Unliquidated
          LOUISVILLE, KY 40285-6158                                           Disputed
          Date(s) debt was incurred 2/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $636.72
          Ready Refresh                                                       Contingent
          PO Box 856158                                                       Unliquidated
          Louisville, KY 40285-6158                                           Disputed
          Date(s) debt was incurred 12/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $409.32
          Ready Refresh                                                       Contingent
          PO Box 856158                                                       Unliquidated
          Louisville, KY 40285-6158                                           Disputed
          Date(s) debt was incurred 11/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,159.74
          READY REFRESH                                                       Contingent
          PO BOX 856158                                                       Unliquidated
          Louisville, KY 40285                                                Disputed
          Date(s) debt was incurred      4/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,159.74
          READY REFRESH                                                       Contingent
          PO BOX 856158                                                       Unliquidated
          Louisville, KY 40285                                                Disputed
          Date(s) debt was incurred      5/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,159.74
          READY REFRESH                                                       Contingent
          PO BOX 856158                                                       Unliquidated
          Louisville, KY 40285                                                Disputed
          Date(s) debt was incurred      6/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,159.74
          READY REFRESH                                                       Contingent
          PO BOX 856158                                                       Unliquidated
          Louisville, KY 40285                                                Disputed
          Date(s) debt was incurred      8/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,159.74
          READY REFRESH                                                       Contingent
          PO BOX 856158                                                       Unliquidated
          Louisville, KY 40285                                                Disputed
          Date(s) debt was incurred      7/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,205.00
          RECOLOGY SUNSET SCAVENGER                                           Contingent
          RECOLOGY GOLDEN GATE                                                Unliquidated
          250 EXECUTIVE PARK, SUITE 2100                                      Disputed
          SAN FRANCISCO, CA 94134-3306
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/31/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,853.60
          RELIANCE METAL CENTER                                               Contingent
          PO BOX 748591                                                       Unliquidated
          LOS ANGELES, CA 90074-8554                                          Disputed
          Date(s) debt was incurred 12/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,746.00
          RELIANT WATER MANAGEMENT                                            Contingent
          1001 BAYHILL DR                                                     Unliquidated
          2ND FLOOR                                                           Disputed
          SAN BRUNO, CA 94066
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,860.76
          REPUBLIC BRASS SALES                                                Contingent
          6566 FEDERAL BLVD                                                   Unliquidated
          LEMON GROVE, CA 91945                                               Disputed
          Date(s) debt was incurred 10/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,807.09
          RES COM NW, INC                                                     Contingent
          1322 BIRCH BAY LYNDEN RD                                            Unliquidated
          FERNDALE, WA 98248                                                  Disputed
          Date(s) debt was incurred 6/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $800.00
          ROBB PRECISION TOOL SERVICES                                        Contingent
          2100 196TH ST SW                                                    Unliquidated
          SUITE 144                                                           Disputed
          LYNNWOOD, WA 98036
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $52.47
          ROBBLEE'S TOTAL SECURITY                                            Contingent
          751 TACOMA AVE S                                                    Unliquidated
          TACOMA, WA 98402                                                    Disputed
          Date(s) debt was incurred 7/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,930.00
          ROBINSON NOBLE                                                      Contingent
          2105 SOUTH C STREET                                                 Unliquidated
          TACOMA, WA 98402                                                    Disputed
          Date(s) debt was incurred 5/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,467.33
          ROGERS MACHINERY COMPANY, INC.                                      Contingent
          PO BOX 230429                                                       Unliquidated
          PORTLAND, OR 97281                                                  Disputed
          Date(s) debt was incurred 7/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $63,306.50
          ROLLS ROYCE MARINE NA                                               Contingent
          110 NORFOLK ST                                                      Unliquidated
          WALPOLE, MA 02081                                                   Disputed
          Date(s) debt was incurred 5/15/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $305.00
          S&S METAL FABRICATION                                               Contingent
          1551 SO TACOMA WAY                                                  Unliquidated
          TACOMA, WA 98409                                                    Disputed
          Date(s) debt was incurred 3/23/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $572.00
          S.D. MEYERS, LLC                                                    Contingent
          180 SOUTH AVE                                                       Unliquidated
          TALLMADGE, OH 44278                                                 Disputed
          Date(s) debt was incurred 10/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $707.80
          SAFE-ENTRY TECHNICAL, INC                                           Contingent
          9300 SANTA ANITA AVE                                                Unliquidated
          SUITE 105                                                           Disputed
          RANCHO CUCAMONGA, CA 91730
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/16/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $831.41
          SAFETY-KLEEN                                                        Contingent
          PO BOX 7170                                                         Unliquidated
          PASADENA, CA 91109-7170                                             Disputed
          Date(s) debt was incurred 10/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,896.41
          SAFWAY                                                              Contingent
          PO BOX 1366                                                         Unliquidated
          FERNDALE, WA 98248                                                  Disputed
          Date(s) debt was incurred 5/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,900.00
          SAFWAY                                                              Contingent
          1660 GILBRETH RD                                                    Unliquidated
          Burlingame, CA 94010                                                Disputed
          Date(s) debt was incurred 2/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $103,896.41
          SAFWAY SERVICES, LLC                                                Contingent
          1660 GILBRETH RD                                                    Unliquidated
          BURLINGAME, CA 94010                                                Disputed
          Date(s) debt was incurred 3/27/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $244,456.06
          San Francisco Public Utilities                                      Contingent
          #60DRG60D-01                                                        Unliquidated
          1390 Market Street, 7th Floor                                       Disputed
          SAN FRANCISCO, CA 94102-5408
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $45,000.00
          San Francisco Tax Collector
          1 Dr Carlton B Goodlett Pl                                          Contingent
          Room 140                                                            Unliquidated
          City Hall                                                           Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $27,947.82
          San Francisco Tax Collector
          1 Dr Carlton B Goodlett Pl                                          Contingent
          Room 140                                                            Unliquidated
          City Hall                                                           Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/21/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,169.08
          San Francisco Tax Collector
          1 Dr Carlton B Goodlett Pl                                          Contingent
          Room 140                                                            Unliquidated
          City Hall                                                           Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/11/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $254,249.41
          SAN FRANCISCO WATER POWER SEWE                                      Contingent
          ATTN: CSB, RETAIL ELECTRIC                                          Unliquidated
          525 GOLDEN GATE AVE, 3RD FLOOR                                      Disputed
          SAN FRANCISCO, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,457.61
          SANITARY SERVICE                                                    Contingent
          PO BOX 35008                                                        Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred      10/1/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          SCHRADER & SON, LLC                                                 Contingent
          2170 C COMMERCE AVE                                                 Unliquidated
          CONCORD, CA 94520                                                   Disputed
          Date(s) debt was incurred 10/20/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $686.87
          SEACOAST ELECTRIC CO.                                               Contingent
          PO BOX 98059                                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred 2/3/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,592.68
          SEAPORT STEEL                                                       Contingent
          PO BOX 3625                                                         Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred      10/3/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,920.20
          SF BAR PILOTS                                                       Contingent
          PIER 9 EAST END                                                     Unliquidated
          SAN FRANCISCO, CA 94111                                             Disputed
          Date(s) debt was incurred 1/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $244,456.06
          SF Public Utilities Commissio                                       Contingent
          #60DRG60D-01                                                        Unliquidated
          1390 Market Street, 7th Floor                                       Disputed
          SAN FRANCISCO, CA 94102-5408
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $37.15
          SGS HERGUTH LABORATORIES, INC.                                      Contingent
          PO BOX 2502                                                         Unliquidated
          CAROL STREAM, IL 60132-2502                                         Disputed
          Date(s) debt was incurred 2/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $131,639.07
          SHERWIN WILLIAMS-BELLINGHAM                                         Contingent
          1401 N STATE ST                                                     Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 8/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $35,450.00
          SIMPLEX AMERICAS LLC                                                Contingent
          20 BARTLES CORNER ROAD                                              Unliquidated
          FLEMINGTON, NJ 08822-5717                                           Disputed
          Date(s) debt was incurred 1/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,834.77
          SMITH FIRE SYSTEMS INC                                              Contingent
          1106 54TH AVE E                                                     Unliquidated
          TACOMA, WA 98424                                                    Disputed
          Date(s) debt was incurred 3/15/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $672.94
          SOLID WASTE MANAGEMENT                                              Contingent
          3510 SOUTH MULLEN ST                                                Unliquidated
          Tacoma, WA 98409                                                    Disputed
          Date(s) debt was incurred 9/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $39.28
          SOUND PROPELLER SERVICES, INC                                       Contingent
          7916 8TH AVENUE S                                                   Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,290.00
          SOUND TESTING, INC.                                                 Contingent
          PO BOX 16204                                                        Unliquidated
          SEATTLE, WA 98116                                                   Disputed
          Date(s) debt was incurred 6/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $89.00
          SPECIAL-T SIGNS AND GRAPHICS                                        Contingent
          2206 PACIFIC ST.                                                    Unliquidated
          BELLINGHAM, WA 98229                                                Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,969.00
          SPECTRA LABORATORIES, LLC                                           Contingent
          2221 ROSS WAY                                                       Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 9/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $91.30
          SPENCER FLUID POWER                                                 Contingent
          19308 68TH AVE S                                                    Unliquidated
          KENT, WA 98032                                                      Disputed
          Date(s) debt was incurred 1/5/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,184.56
          SPERRY MARINE A UNIT OF NORTH                                       Contingent
          1865 INDUSTRIAL BLVD                                                Unliquidated
          NORTHROP GRUMMAN SPERRY MARINE                                      Disputed
          HARVEY, LA 70058
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/22/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,346.07
          SPONGE JET                                                          Contingent
          14 PATTERSON LANE                                                   Unliquidated
          NEWINGTON, NH 03801                                                 Disputed
          Date(s) debt was incurred 5/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,903.09
          SPRINT                                                              Contingent
          PO BOX 219100                                                       Unliquidated
          KANSAS CITY, MO 64121-9100                                          Disputed
          Date(s) debt was incurred 10/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $166.65
          STELLAR INDUSTRIAL SUPPLY                                           Contingent
          711 E 11TH STREET                                                   Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 9/25/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,279.02
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $702.16
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 2/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $702.47
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 4/1/3017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $702.63
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 5/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $713.17
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $723.87
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 7/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $734.72
          STERICYCLE                                                          Contingent
          PO BOX 6578                                                         Unliquidated
          Carol STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,233.80
          STOW-IT                                                             Contingent
          PO BOX 669                                                          Unliquidated
          FERNDALE, WA 00098-4248                                             Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $707.50
          STREICH BROTHERS, INC.                                              Contingent
          1650 MARINE VIEW DRIVE                                              Unliquidated
          TACOMA, WA 98422                                                    Disputed
          Date(s) debt was incurred 8/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $668.43
          STUD WELDING PRODUCTS                                               Contingent
          PO BOX 68887                                                        Unliquidated
          SEATTLE, WA 98168                                                   Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $360.00
          SUMMIT LAW GROUP PLLC                                               Contingent
          315 FIFTH AVENUE SOUTH                                              Unliquidated
          SUITE 1000                                                          Disputed
          SEATTLE, WA 98104-2682
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/21/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,874.08
          SUNBELT RENTALS, INC.                                               Contingent
          PO BOX 409211                                                       Unliquidated
          ATLANTA, GA 30384                                                   Disputed
          Date(s) debt was incurred 9/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $361.28
          TACOMA DIESEL & EQUIPMENT INC.                                      Contingent
          444 54TH AVE E                                                      Unliquidated
          Fife, WA 98424                                                      Disputed
          Date(s) debt was incurred 12/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,877.50
          TACOMA HYDRAULICS, INC                                              Contingent
          405 PORTER WAY UNIT A                                               Unliquidated
          MILTON, WA 98354                                                    Disputed
          Date(s) debt was incurred 9/11/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $11.95
          TACOMA RUBBER STAMP                                                 Contingent
          PO BOX 1398                                                         Unliquidated
          Tacoma, WA 98401                                                    Disputed
          Date(s) debt was incurred 9/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,418.45
          TACOMA SCREW PRODUCTS, INC.                                         Contingent
          2001 CENTER STREET                                                  Unliquidated
          TACOMA, WA 98409                                                    Disputed
          Date(s) debt was incurred 8/10/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,032.86
          TACOMA STEEL SUPPLY                                                 Contingent
          701 EAST 64TH ST                                                    Unliquidated
          TACOMA, WA 98404                                                    Disputed
          Date(s) debt was incurred 8/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,033.51
          TEAM INDUSTRIAL SERVICES                                            Contingent
          11837 WATER TANK RD.                                                Unliquidated
          BURLINGTON, WA 98233                                                Disputed
          Date(s) debt was incurred 8/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $217.50
          TECH-1 AUTOMOTIVE                                                   Contingent
          1460 ILLINOIS STREET                                                Unliquidated
          SAN FRANCISCO, CA 94107                                             Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $405.59
          TECH-1 AUTOMOTIVE                                                   Contingent
          1460 ILLINOIS STREET                                                Unliquidated
          SAN FRANCISCO, CA 94107                                             Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $226.25
          TECH-1 AUTOMOTIVE                                                   Contingent
          1460 ILLINOIS STREET                                                Unliquidated
          SAN FRANCISCO, CA 94107                                             Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.32
          TECH-1 AUTOMOTIVE                                                   Contingent
          1460 ILLINOIS STREET                                                Unliquidated
          SAN FRANCISCO, CA 94107                                             Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $75.00
          TECH-1 AUTOMOTIVE                                                   Contingent
          1460 ILLINOIS STREET                                                Unliquidated
          SAN FRANCISCO, CA 94107                                             Disputed
          Date(s) debt was incurred 12/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,170.62
          TECHCOLLECTIVE COOPERATIVE                                          Contingent
          101 CALIFORNIA ST.                                                  Unliquidated
          SUITE 2710                                                          Disputed
          SAN FRANCISCO, CA 94111
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/20/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $266.14
          THEBUYINGNETWORK.COM                                                Contingent
          420 SO 96TH STREET, SUITE 3                                         Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred 3/14/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $918.69
          THRESHOLD DOCUMENTS                                                 Contingent
          810 N STATE STREET                                                  Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 6/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,856.73
          TIMCO, INC.                                                         Contingent
          1926 PORT OF TACOMA RD                                              Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 7/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,800.00
          TOP TO BOTTOM, INC.                                                 Contingent
          2620 N HARBOR LOOP DR #16                                           Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,180.28
          TORCH & REGULATOR REPAIR CO.                                        Contingent
          2526 TACOMA AVE S                                                   Unliquidated
          TACOMA, WA 98402                                                    Disputed
          Date(s) debt was incurred 7/17/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,440.55
          TORK SYSTEMS                                                        Contingent
          3330 EVERGREEN AVE                                                  Unliquidated
          JACKSONVILLE, FL 32206                                              Disputed
          Date(s) debt was incurred 9/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $43,776.00
          TRADESMEN INTERNATIONAL, LLC                                        Contingent
          910 SW Spokane Street                                               Unliquidated
          Seattle, WA 98134                                                   Disputed
          Date(s) debt was incurred 5/8/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,516.49
          TRI-COUNTY DIESEL MARINE                                            Contingent
          2696 ROEDER AVE.                                                    Unliquidated
          BELLINGHAM, WA 98225                                                Disputed
          Date(s) debt was incurred 11/22/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,000.00
          TRUTINA FINANCIAL                                                   Contingent
          10811 MAIN ST                                                       Unliquidated
          BELLEVUE, WA 98004                                                  Disputed
          Date(s) debt was incurred 6/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $98.59
          ULINE                                                               Contingent
          PO BOX 88741                                                        Unliquidated
          CHICAGO, IL 60680-1741                                              Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $426.98
          UMPQUA BANK                                                         Contingent
          PO BOX 2310                                                         Unliquidated
          SPOKANE, WA 99210                                                   Disputed
          Date(s) debt was incurred 8/1/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,094.42
          UNIFIRST                                                            Contingent
          1025 N LEVEE ROAD                                                   Unliquidated
          PUYALLUP, WA 98371                                                  Disputed
          Date(s) debt was incurred 10/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $130,090.48
          UNITED RENTALS                                                      Contingent
          123 LOOMIS ST                                                       Unliquidated
          SAN FRANCISCO, CA 94124                                             Disputed
          Date(s) debt was incurred 2/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,063.89
          UNITED SITE SERVICES                                                Contingent
          PO BOX 53267                                                        Unliquidated
          PHOENIX, AZ 85072                                                   Disputed
          Date(s) debt was incurred 1/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $705.94
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 1/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $524.30
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 7/20/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,759.38
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/13/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,506.25
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 9/11/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $271.57
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 9/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,187.19
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 10/7/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 10/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $409.38
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/30/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $301.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 12/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,560.63
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 1/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $658.56
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 1/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $496.13
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,557.32
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $232.78
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $883.50
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,470.32
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $544.13
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $489.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 4/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,999.38
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 4/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $333.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 7/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,324.13
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 7/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $625.29
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $333.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,872.79
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 9/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $704.79
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/18/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $278.03
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 12/16/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $223.65
          United Site Services of CA Inc                                      Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 12/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,365.00
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 12/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $223.65
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 12/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $278.03
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $3.71
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/18/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $704.79
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 10/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $353.75
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 9/22/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,872.79
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $333.75
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $625.29
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/6/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,324.13
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 7/31/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $333.75
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 7/28/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,999.38
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 4/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $489.75
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 4/30/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $544.13
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,470.32
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $883.50
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 3/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $232.78
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $944.88
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/23/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,557.32
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/17/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $496.13
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 2/15/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $658.56
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 1/26/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,560.63
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 1/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $301.75
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 12/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $409.38
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 11/30/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,132.82
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 10/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,187.19
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 10/7/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $271.57
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 9/23/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,506.25
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 9/11/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,759.38
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 8/13/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $524.30
          United Site Svc of CA, Inc                                          Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 7/20/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80,636.00
          UNITED WESTERN SUPPLY                                               Contingent
          5245 E MARGINAL WAY                                                 Unliquidated
          SEATTLE, WA 98134                                                   Disputed
          Date(s) debt was incurred 1/5/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $323.96
          UPS                                                                 Contingent
          PO BOX 361595                                                       Unliquidated
          COLUMBUS, OH 43236                                                  Disputed
          Date(s) debt was incurred 5/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $274.79
          UPS                                                                 Contingent
          PO BOX 894820                                                       Unliquidated
          LOS ANGELES, CA 90189                                               Disputed
          Date(s) debt was incurred 9/23/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,065.00
          USE W&O SUPPLY                                                      Contingent
          PO BOX 933067                                                       Unliquidated
          ATLANTA, GA 31193-3067                                              Disputed
          Date(s) debt was incurred 12/27/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $7,020.00
          USMCAE                                                              Contingent
          1516 So. Graham St.                                                 Unliquidated
          Seattle, WA 98108                                                   Disputed
          Date(s) debt was incurred      7/6/2017                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $705.94
          Utd Site Services of CA, Inc                                        Contingent
          PO Box 53267                                                        Unliquidated
          Phoenix, AZ 85072-3267                                              Disputed
          Date(s) debt was incurred 1/31/2015
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,895.37
          VALLEY OIL COMPANY                                                  Contingent
          PO BOX 1655                                                         Unliquidated
          MOUNTAIN VIEW, CA 94042                                             Disputed
          Date(s) debt was incurred 4/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,065.00
          VALVE AUTOMATION & CONTROLS                                         Contingent
          PO BOX 933067                                                       Unliquidated
          ATLANTA, GA 98680-0848                                              Disputed
          Date(s) debt was incurred 12/27/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $84.01
          VANCE LIFT TRUCK SERVICE                                            Contingent
          10005 LAKEVIEW AVE SW                                               Unliquidated
          LAKEWOOD, WA 98499                                                  Disputed
          Date(s) debt was incurred 10/1/2013
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $990.04
          VANDERYACHT PROPANE INC.                                            Contingent
          6811 GUIDE MERIDIAN                                                 Unliquidated
          LYNDEN, WA 98264                                                    Disputed
          Date(s) debt was incurred 10/18/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,281.05
          VERIZON WIRELESS                                                    Contingent
          PO BOX 660108                                                       Unliquidated
          DALLAS, TX 75266-0108                                               Disputed
          Date(s) debt was incurred 9/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,680.00
          VOLT                                                                Contingent
          2401 N. Glassell Street                                             Unliquidated
          Orange, CA 92865                                                    Disputed
          Date(s) debt was incurred 1/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,680.00
          VOLT                                                                Contingent
          2401 N. Glassell Street                                             Unliquidated
          Los ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred 2/19/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,680.00
          VOLT                                                                Contingent
          2401 N. Glassell Street                                             Unliquidated
          Los ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred 2/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9,744.00
          VOLT MANAGEMENT CORP                                                Contingent
          PO BOX 679307                                                       Unliquidated
          DALLAS, TX 75267-9307                                               Disputed
          Date(s) debt was incurred 2/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,193.75
          W&O SUPPLY                                                          Contingent
          PO BOX 933067                                                       Unliquidated
          ATLANTA, GA 31193                                                   Disputed
          Date(s) debt was incurred      8/4/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,584.00
          WA STATE DEPT. OF ECOLOGY                                           Contingent
          PO BOX 47611                                                        Unliquidated
          OLYMPIA, WA 98504-7611                                              Disputed
          Date(s) debt was incurred 11/9/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $330.00
          WA TRUCKING ASSOCIATIONS                                            Contingent
          2102 CARRIAGE DR SW                                                 Unliquidated
          BLD F                                                               Disputed
          OLYMPIA, WA 98502
                                                                             Basis for the claim:
          Date(s) debt was incurred 9/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $64,025.00
          WALASHEK INDUSTRIAL AND MARINE                                      Contingent
          6410 S 143RD ST                                                     Unliquidated
          TUKWILA, WA 98168                                                   Disputed
          Date(s) debt was incurred 2/21/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $410,101.73
          WARTSILA DEFENSE, INC                                               Contingent
          3617 KOPPENS WAY                                                    Unliquidated
          CHESAPEAKE, VA 23323                                                Disputed
          Date(s) debt was incurred 2/28/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $843.56
          WASHINGTON ALARM                                                    Contingent
          2030 AIRPORT WAY S                                                  Unliquidated
          SEATTLE, WA 98134-1603                                              Disputed
          Date(s) debt was incurred 4/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $139.44
          WASHINGTON CRANE & HOIST                                            Contingent
          1334 THORNTON AVE SW                                                Unliquidated
          PACIFIC, WA 98047                                                   Disputed
          Date(s) debt was incurred 10/12/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $190,000.00
          Washington State Dept of Revenue
          Taxpayer Account Admin Division                                     Contingent
          RE: #601-323-390                                                    Unliquidated
          PO Box 47476                                                        Disputed
          Olympia, WA 98504-7476
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/15/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $250.00
          WASHINGTON STATE FERRIES                                            Contingent
          LEGAL SERVICES & CONTRACTS DEP                                      Unliquidated
          2901 THIRD AVE, SUITE 500                                           Disputed
          SEATTLE, WA 98121-3014
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/15/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,867.00
          WATER WEIGHTS                                                       Contingent
          470 SATELLITE BLVD STE K                                            Unliquidated
          PO BOX 2286                                                         Disputed
          SUWANEE, GA 30024
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/19/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,574.00
          WCR INCORPORATED                                                    Contingent
          2377 COMMERCE CENTER BLVD.                                          Unliquidated
          SUITE B                                                             Disputed
          FAIRBURN, OH 95324
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/10/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,542.59
          WEST COAST MARINE CHEMISTS INC                                      Contingent
          PO BOX 2562                                                         Unliquidated
          ALAMEDA, CA 94501                                                   Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,950.37
          WEST COAST WIRE ROPE & RIGGING                                      Contingent
          2900 NW 29TH AVE                                                    Unliquidated
          PORTLAND, OR 97210                                                  Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
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 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,589.00
          West Conf. of Teamsters Pen.
          Teamsters Local #2785                                               Contingent
          1000 Marina Blvd                                                    Unliquidated
          Suite 400                                                           Disputed
          Brisbane, CA 94005-1841
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $89.75
          WEST MARINE PRO                                                     Contingent
          PO BOX 50060                                                        Unliquidated
          Watsonville, CA 95077                                               Disputed
          Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,245.12
          WEST MARINE PRO                                                     Contingent
          PO BOX 50060                                                        Unliquidated
          Watsonville, CA 95077                                               Disputed
          Date(s) debt was incurred 12/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,225.00
          WESTAR MARINE SERVICES                                              Contingent
          PO BOX 78100                                                        Unliquidated
          SAN FRANCISCO, CA 94107-9991                                        Disputed
          Date(s) debt was incurred 3/2/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,589.00
          Western Conf of Teamsters Pens
          Teamsters Local #2785                                               Contingent
          1000 Marina Blvd                                                    Unliquidated
          Suite 400                                                           Disputed
          Brisbane, CA 94005-1841
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,914.04
          WESTERN PACIFIC CRANE                                               Contingent
          19602 60TH AVE NE                                                   Unliquidated
          ARLINGTON, WA 98223                                                 Disputed
          Date(s) debt was incurred 7/13/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,560.00
          WESTERN TOW BOAT                                                    Contingent
          617 NW 40TH STREET                                                  Unliquidated
          SEATTLE, WA 98107                                                   Disputed
          Date(s) debt was incurred 11/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,782.06
          WHATCOM COUNTY TREASURER                                            Contingent
          PO BOX 34873                                                        Unliquidated
          SEATTLE, WA 98124                                                   Disputed
          Date(s) debt was incurred 2/28/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $185.00
          WHATCOM OCCUPATIONAL HEALTH                                         Contingent
          3010 SQUALICUM PARKWAY                                              Unliquidated
          Bellingham, WA 98225                                                Disputed
          Date(s) debt was incurred 9/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,693.90
          WHISTLE WORKWEAR, LLC                                               Contingent
          3908 MERIDIAN ST #101                                               Unliquidated
          BELLINGHAM, WA 98226                                                Disputed
          Date(s) debt was incurred 1/17/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $38.22
          WILCOX & FLEGEL                                                     Contingent
          95 PANEL WAY                                                        Unliquidated
          PO BOX 69                                                           Disputed
          LONGVIEW, WA 98632
                                                                             Basis for the claim:
          Date(s) debt was incurred 7/31/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $554.13
          WILLIAMS OIL FILTER SERVICE                                         Contingent
          1247 PUYALLUP AVE                                                   Unliquidated
          TACOMA, WA 98421                                                    Disputed
          Date(s) debt was incurred 8/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,600.00
          WILSON WALTON INT'L INC.                                            Contingent
          3349 ROUTE 138                                                      Unliquidated
          BLDG C, SUITE E                                                     Disputed
          WALL, NJ 07719
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/17/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,567.15
          WILSON WALTON INT'L, INC                                            Contingent
          3349 ROUTE 138, BLDG C, STE E                                       Unliquidated
          E WALL, NJ 07719                                                    Disputed
          Date(s) debt was incurred 11/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,670.00
          WILSON WALTON INT'L, INC                                            Contingent
          3349 ROUTE 138, BLDG C                                              Unliquidated
          E WALL, NJ 07719                                                    Disputed
          Date(s) debt was incurred 11/19/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $3,200.56
          WOOD'S LOGGING SUPPLY                                               Contingent
          PO BOX K                                                            Unliquidated
          LONGVIEW, WA 98632                                                  Disputed
          Date(s) debt was incurred 10/5/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $391.68
          World Enviro & Energy, Inc                                          Contingent
          PO Box 256                                                          Unliquidated
          West Sacramento, CA 95691                                           Disputed
          Date(s) debt was incurred 8/25/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $61,382.50
          WORLDWIDE DIESEL POWER INC.                                         Contingent
          732 PARKER ST                                                       Unliquidated
          JACKSONVILLE, FL 32202                                              Disputed
          Date(s) debt was incurred 8/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,064.00
          WRIGHT MACHINE                                                      Contingent
          719 S MONROE ST                                                     Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred      5/31/2017                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $365.30
          XPOLOGISTICS                                                        Contingent
          PO BOX 5160                                                         Unliquidated
          PORTLAND, OR 97208                                                  Disputed
          Date(s) debt was incurred 4/29/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $956.67
          XPOLOGISTICS                                                        Contingent
          PO BOX 5160                                                         Unliquidated
          PORTLAND, OR 97208                                                  Disputed
          Date(s) debt was incurred 6/24/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Puglia Engineering Inc.                                                                 Case number (if known)            18-41324
              Name

 3.600     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $151.33
           XPOLOGISTICS                                                       Contingent
           PO BOX 5160                                                        Unliquidated
           PORTLAND, OR 97208                                                 Disputed
           Date(s) debt was incurred 12/21/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $119.70
           XPOLOGISTICS                                                       Contingent
           PO BOX 5160                                                        Unliquidated
           PORTLAND, OR 97208                                                 Disputed
           Date(s) debt was incurred 10/11/2016
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $406.53
           ZORO TOOLS                                                         Contingent
           909 ASBURY DRIVE                                                   Unliquidated
           BUFFALO GROVE, IL 60089                                            Disputed
           Date(s) debt was incurred 8/4/2017
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                      related creditor (if any) listed?                 account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                   11,722,903.96

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      11,722,903.96




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 Fill in this information to identify the case:

 Debtor name         Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)         18-41324
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Job
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                            ACGI
                                                                                      16400 Southcenter Parkway
              List the contract number of any                                         Suite 400
                    government contract                                               Seattle, WA 98188


 2.2.         State what the contract or                  Job
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                            Alaska Marine Lines
                                                                                      18000 International BLVD
              List the contract number of any                                         Suite 900
                    government contract                                               Seattle, WA 98188


 2.3.         State what the contract or                  Job
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      Bennett Industries
              List the contract number of any                                         1160 Thorne Rd
                    government contract                                               Tacoma, WA 98421


 2.4.         State what the contract or                  Job
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      Boyer Towing Inc
              List the contract number of any                                         7318 4th Ave S
                    government contract                                               Seattle, WA 98108




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 Debtor 1 Puglia Engineering Inc.                                                                Case number (if known)   18-41324
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         CargoTech: MacGregor Division
             List the contract number of any                                             3300 Elmhuts Lane
                   government contract                                                   Portsmouth, VA 23701


 2.6.        State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Catrina Stenvers
             List the contract number of any                                             2267 Rusty Lane
                   government contract                                                   Bellingham, WA 98225


 2.7.        State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         DecoMack Marine Inc.
             List the contract number of any                                             2727 Mountain View Road
                   government contract                                                   Ferndale, WA 98248-9666


 2.8.        State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Dunlap Towing
             List the contract number of any                                             PO box 593
                   government contract                                                   Laconner, WA 98257


 2.9.        State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Electric Motor Services
             List the contract number of any                                             1928 Milwaukee Way
                   government contract                                                   Tacoma, WA 98421


 2.10.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               IMCO
                                                                                         2116 Buchanan Loop
             List the contract number of any                                             Ferndale, WA 98248
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 Debtor 1 Puglia Engineering Inc.                                                                Case number (if known)   18-41324
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.11.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Kirby Offshore Marine
             List the contract number of any                                             2700 W. Commodore Way
                   government contract                                                   Seattle, WA 98199


 2.12.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Laznak Inc. LLC
             List the contract number of any                                             PO Box 1631
                   government contract                                                   Petersburg, AK 99833


 2.13.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Lummi Sewer
             List the contract number of any                                             2156 Lummi View Dr.
                   government contract                                                   Bellingham, WA 98226


 2.14.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Matson Navigation
                                                                                         426 N 44th Street
             List the contract number of any                                             Suite 250
                   government contract                                                   Phoenix, AZ 85008


 2.15.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         MD Marine
             List the contract number of any                                             672 E. 11th Street
                   government contract                                                   Tacoma, WA 98421


 2.16.       State what the contract or                   Lease
             lease is for and the nature of                                              Neil Turney
             the debtor's interest                                                       2216 East 11th Street
                                                                                         Tacoma, WA 98421
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 Debtor 1 Puglia Engineering Inc.                                                                Case number (if known)   18-41324
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest
                                                                                         NOAA
                  State the term remaining                                               Western Acquisition Division
                                                                                         7600 Sand Point Way NE
             List the contract number of any                                             SOU6
                   government contract                                                   Seattle, WA 98115


 2.18.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               NRC Environmental Services
                                                                                         3500 Sunrise Hwy
             List the contract number of any                                             Ste 200 Bldg 200
                   government contract                                                   Great River, NY 11739


 2.19.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Pacific Pile and Marine
             List the contract number of any                                             700 S Riverside Dr.
                   government contract                                                   Seattle, WA 98108


 2.20.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Performance Radiator
             List the contract number of any                                             2667 S Tacoma Way
                   government contract                                                   Tacoma, WA 98409


 2.21.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Pierce County Drainage Dist #23
                                                                                         308 West Stewart Avenue
             List the contract number of any                                             PO Box 1057
                   government contract                                                   Puyallup, WA 98371




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 Debtor 1 Puglia Engineering Inc.                                                                Case number (if known)   18-41324
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.22.       State what the contract or                   Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Port of Bellingham
                                                                                         1801 Roeder Avenue
             List the contract number of any                                             PO Box 1677
                   government contract                                                   Bellingham, WA 98277


 2.23.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Premier Pacific Seafoods
             List the contract number of any                                             333 First Avenue West
                   government contract                                                   Seattle, WA 98119


 2.24.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Puyallup Tribe of Indians
             List the contract number of any                                             3009 E Portland Ave
                   government contract                                                   Tacoma, WA 98404


 2.25.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Robby Bruce
             List the contract number of any                                             PO Box 104
                   government contract                                                   Elk, CA 95432


 2.26.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Samson Tug & Barge
                                                                                         329 Harbor Drive
             List the contract number of any                                             PO Box 559
                   government contract                                                   Sitka, AK 99835


 2.27.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Schnitzer Steel Industries
                                                                                         PO Box 10636
             List the contract number of any                                             Portland, OR 97295
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 Debtor 1 Puglia Engineering Inc.                                                               Case number (if known)   18-41324
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.28.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Scrap It - Parberry
             List the contract number of any                                             1526 Slater Road
                   government contract                                                   Ferndale, WA 98248


 2.29.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Tacoma School District
                                                                                         Purchasing Dept
             List the contract number of any                                             PO Box 1357
                   government contract                                                   Tacoma, WA 98401


 2.30.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Ted Morehouse
             List the contract number of any                                             1513 Bass Lake Road
                   government contract                                                   Holly Springs, NC 27540


 2.31.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         TEMCO
             List the contract number of any                                             11 Schuster Parkway
                   government contract                                                   Tacoma, WA 98402


 2.32.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         US Coast Guard
             List the contract number of any                                             300 E. Main St
                   government contract                                                   Norfolk, VA 23510


 2.33.       State what the contract or                   Job                            WA State Dept of Transportation
             lease is for and the nature of                                              2901 3rd Ave
             the debtor's interest                                                       Suite 500
                                                                                         Seattle, WA 98121
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 Debtor 1 Puglia Engineering Inc.                                                               Case number (if known)   18-41324
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Job
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Western Machine
             List the contract number of any                                             652 E. 11th Street
                   government contract                                                   Tacoma, WA 98421




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)         18-41324
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:

    2.1      Neil Turney                       2216 East 11th Street                             Washington Federal             D        2.3
                                               Tacoma, WA 98421                                                                  E/F
                                                                                                                                G




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Puglia Engineering Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)         18-41324
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                           $2,221,388.79
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                         $33,789,859.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                         $33,967,094.00
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       For prior year:                                                                         Rebates, Refunds and San
       From 1/01/2017 to 12/31/2017                                                            Francisco Shipyard A/R                           $3,831,501.00


       For year before that:                                                                   Rebates, Refunds and
       From 1/01/2016 to 12/31/2016                                                            Interest                                             $35,400.00


       For the fiscal year:                                                                    Rebates, Refunds and
       From 1/01/2015 to 12/31/2015                                                            Interest                                             $88,983.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See Attached                                                                              $2,153,791.30          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Neil Turney                                                 05/05/17                             $480.00        Payroll
               P.O. Box 1302
               Tacoma, WA 98401

       4.2.    Neil Turney                                                 05/07/17                         $20,000.00         Short Term loan
               P.O. Box 1302
               Tacoma, WA 98401

       4.3.    Neil Turney                                                 05/03/17                         $16,000.00         Rent
               P.O. Box 1302
               Tacoma, WA 98401

       4.4.    Neil Turney                                                 05/25/17                         $16,000.00         Rent
               P.O. Box 1302
               Tacoma, WA 98401

       4.5.    Neil Turney                                                 09/11/17                         $48,000.00         Rent
               P.O. Box 1302
               Tacoma, WA 98401

       4.6.    Neil Turney                                                 09/29/17                         $16,000.00         Rent
               P.O. Box 1302
               Tacoma, WA 98401

       4.7.    Neil Turney                                                 10/26/17                         $16,000.00         Rent
               P.O. Box 1302
               Tacoma, WA 98401

       4.8.    Neil Turney                                                                                    $8,000.00        Employee Compensation
               P.O. Box 1302
               Tacoma, WA 98401

       4.9.    Neil Turney                                                                                  $16,000.00         Rent
               P.O. Box 1302
               Tacoma, WA 98401


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 Debtor       Puglia Engineering Inc.                                                                   Case number (if known) 18-41324



5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Reliance Metal Center v.                         Collection                 Pierce County District                        Pending
               Puglia Engineering, Inc.                                                    Court                                       On appeal
               7Z79978C                                                                    930 Tacoma Ave Rm 239
                                                                                                                                       Concluded
                                                                                           Tacoma, WA 98402

       7.2.    Judice v. BAE Systems San                        Employee Claim             San Francisco County                          Pending
               Francisco                                                                   Superior Court                              On appeal
               CGC16555608                                                                 400 McAllister Street
                                                                                                                                       Concluded
                                                                                           San Francisco, CA 94102

       7.3.    Antoine v. BAE Systems et al.                    Employee Claim             US District Court - ND Cal.                   Pending
               17CV02231SBA                                                                450 Golden Gate Ave.                        On appeal
                                                                                           Box 36060
                                                                                                                                       Concluded
                                                                                           San Francisco, CA 94102

       7.4.    Joe Robinson v. Puglia                           Personal Injury            Whatcom County Superior                       Pending
               Engineering, Inc.                                                           Court                                       On appeal
               17-2-01542-0                                                                311 Grand Ave, Suite 301
                                                                                                                                       Concluded
                                                                                           Bellingham, WA 98225

       7.5.    Motor-Services Hugo Stamp,                       Collection                 US District Court - SD Fla                  Pending
               Inc. v. Puglia Engineering,                                                 400 N. Miami Ave, Rm 11-1                   On appeal
               Inc.                                                                        Miami, FL 33128                             Concluded
               17-cv-61711

       7.6.    Puglia Engineering, Inc. v.                      Fraud and                  California Superior Court                     Pending
               BAE Systems Ship Repair Inc.                     Violation of CA            400 McAllister Street                       On appeal
               et al.                                           Securities Laws            San Francisco, CA 94102
                                                                                                                                       Concluded
               CGC-17-557087

       7.7.    BAE Systems Ship Repair Inc.                     Breach of                  US District Court SDNY                        Pending
               v. Puglia Engineering, Inc.                      Contract                   500 Pearl Street                            On appeal
               17CV1287                                                                    New York, NY 10007
                                                                                                                                       Concluded


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 Debtor       Puglia Engineering Inc.                                                                   Case number (if known) 18-41324



               Case title                                       Nature of case             Court or agency's name and              Status of case
               Case number                                                                 address
       7.8.    N/A                                              Audit                      State of WA Dept of                      Pending
                                                                                           Revenue                                  On appeal
                                                                                           PO Box 47464                               Concluded
                                                                                           Olympia, WA 98504

       7.9.    Tradesmen International, LLC                     Collection                 Murphy, Pearson, Bradley &               Pending
               v. Puglia Engineering, Inc.                                                 Feeney                                   On appeal
                                                                                           88 Kearny Street, 10th Floor             Concluded
                                                                                           San Francisco, CA 94108

       7.10 Holt of CA v. Puglia                                Collection                 Superior Court of CA                       Pending
       .    Engineering                                                                    County of San Joaquin                    On appeal
               STK-CV-LBC-2017-0010612                                                     180 E. Weber Ave.
                                                                                                                                    Concluded
                                                                                           Stockton, CA 95202

       7.11 North Coast Electric Co. v.                         Collection                 King County Superior Court                 Pending
       .    Puglia Engineering, Inc.                                                       516 Third Avenue, Room                   On appeal
               18-2-06767-75GA                                                             E-609
                                                                                                                                    Concluded
                                                                                           Seattle, WA 98104


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                           Value

       9.1.    DES Surplus Operation
               7511 New Market Street SW
               Olympia, WA 98501                                                                                         1/25/17                         $6,362.12

               Recipients relationship to debtor



       9.2.    Christian Faith School
               33645 20th Ave S
               Federal Way, WA 98003                                                                                     5/31/17; 9/14/17              $30,000.00

               Recipients relationship to debtor



       9.3.    Billy Graham Evangelist
               1 Billy Graham Parkway
               Charlotte, NC 28201                                                                                       6/27/16                         $2,500.00

               Recipients relationship to debtor




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 Debtor        Puglia Engineering Inc.                                                                     Case number (if known) 18-41324



 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        04/21/17                 $5,095.00

                 Email or website address
                 www.bskd.com

                 Who made the payment, if not debtor?




       11.2.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        08/14/17                 $2,754.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.3.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        09/22/17                 $2,258.38

                 Email or website address


                 Who made the payment, if not debtor?




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 Debtor        Puglia Engineering Inc.                                                                  Case number (if known) 18-41324



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.4.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        11/30/17                 $9,892.62

                 Email or website address


                 Who made the payment, if not debtor?




       11.5.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        01/16/18                 $2,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.6.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        01/19/18               $20,451.77

                 Email or website address


                 Who made the payment, if not debtor?




       11.7.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        02/15/18                 $9,892.62

                 Email or website address


                 Who made the payment, if not debtor?




       11.8.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        03/15/18               $35,304.40

                 Email or website address


                 Who made the payment, if not debtor?




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                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.9.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        04/12/17                 $38,104.69

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                          Description of property transferred or                   Date transfer              Total amount or
                Address                                         payments received or debts paid in exchange              was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services               If debtor provides meals
                                                                the debtor provides                                                        and housing, number of
                                                                                                                                           patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       City Storage of San Francisco                                 Scott Hendrickson                    Employee files for San                No
       500 Indiana Street                                            201 Harris Ave                       Francisco site                        Yes
       San Francisco, CA 94107                                       Bellingam, WA 98225



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various                                                                                            The Debtor stores its                      Unknown
                                                                                                          customer's property from the
                                                                                                          vessels it is working on for
                                                                                                          the duration of the work.




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       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Customer vessels and their contents                                                                                                                           $0.00



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Shipyard Repair                                  EIN:
             BAE Systems San Francisco                                                                                      XX-XXXXXXX
             Shipyard
             70 Pier                                                                                           From-To      12/03/92 - Present
             San Francisco, CA 94107


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None

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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Victor ("Scott") Hendrickson                                                                                          05/05/13-Present
                    201 Harris Ave                                                                                                        (CFO)
                    Bellingham, WA 98225
       26a.2.       Maggie Proctor                                                                                                        07/30/07-Present
                    201 Harris Ave                                                                                                        (Accounts Payable)
                    Bellingham, WA 98225
       26a.3.       Jeanetter Rhodes                                                                                                      03/24/14-Present
                    201 Harris Ave                                                                                                        (Employee -
                    Bellingham, WA 98225                                                                                                  Accountant)
       26a.4.       Michelle Mellema                                                                                                      05/11/15-Pressent
                    201 Harris Ave                                                                                                        (Employee - Payroll)
                    Bellingham, WA 98225
       26a.5.       Rachel Vandermay                                                                                                      12/02/13-09/30/17
                    201 Harris Ave                                                                                                        (Employee - Data
                    Bellingham, WA 98225                                                                                                  Entry)
       26a.6.       Joel Underwood                                                                                                        06/30/10-Present
                    201 Harris Ave                                                                                                        (Employee -
                    Bellingham, WA 98225                                                                                                  Purchasing)
       26a.7.       Valerie Isaak                                                                                                         02/01/13-Present
                    201 Harris Ave                                                                                                        (Employee -
                    Bellingham, WA 98225                                                                                                  Purchasing)
       26a.8.       Lori Jo Crooks                                                                                                        11/17/14-Pressent
                    201 Harris Ave                                                                                                        (Employee - Tool
                    Bellingham, WA 98225                                                                                                  Inventory)
       26a.9.       Larson Gross PLLC                                                                                                     12/31/13 - Present
                    2211 Rimland Dr
                    Bellingham, WA 98226
       26a.10.      VL Scott PLLC                                                                                                         13/31/13 - Present
                    1204 Cleveland Ave
                    Mount Vernon, WA 98273

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Victor (Scott) Hendrickson
                    201 Harris Avenue
                    Bellingham, WA 98225

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address


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 Debtor      Puglia Engineering Inc.                                                                    Case number (if known) 18-41324



       Name and address
       26d.1.       Washington Federal
                    400 10th Ave NE #104
                    Bellevue, WA 98004
       26d.2.       Grow America Funds
                    708 Third Ave, Suite 710
                    New York, NY 10017
       26d.3.       First National Commerce Capital
                    1029 Hwy 6 N, Suite 650-283
                    Houston, TX 77079
       26d.4.       EH National Bank
                    8484 Wilshire Blvd #100
                    Beverly Hills, CA 90211
       26d.5.       HUB International NW
                    PO Box 3018
                    Bothell, WA 98011
       26d.6.       State of WA DOT
                    2901 Third Ave, Suite 500
                    Seattle, WA 98121
       26d.7.       William F. Malaier
                    901 Fifth Ave, Suite 3500
                    Seattle, WA 98164
       26d.8.       V.L. Scott PLLC
                    1204 Cleveland Ave
                    Mount Vernon, WA 98273
       26d.9.       Umpqua Bank
                    PO Box 2224
                    Spokane, WA 99210
       26d.10.      Business Ferrett
                    710 West Etruria Street
                    Seattle, WA 98119
       26d.11.      Kiel Mortgage
                    604 Oakesdale Ave SW, Suite B-103
                    Renton, WA 98057
       26d.12.      Bank of the Northwest
                    1250 Pacific Ave #100
                    Tacoma, WA 98402
       26d.13.      Kidder Mathews
                    601 Union Street, Suite 4720
                    Seattle, WA 98101
       26d.14.      Zions Bank
                    313 Preist Point Dr NW
                    Marysville, WA 98271
       26d.15.      Balboa Capital
                    2010 Main Street, Suite 1100
                    Irvine, CA 92614
       26d.16.      Advance Capital
                    600 University Street, Suite 1616
                    Seattle, WA 98101


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 Debtor      Puglia Engineering Inc.                                                                    Case number (if known) 18-41324



       Name and address
       26d.17.      Wells Fargo
                    205 108th Ave NE, Suite 200
                    Bellevue, WA 98004
       26d.18.      National Commercial Capital
                    165 Passaic Ave, Suite 303
                    Fairfield, NJ 07004
       26d.19.      Prudential
                    Four Embarcadero Center, Suite 2700
                    San Francisco, CA 94111
       26d.20.      Port of San Francisco
                    Pier 1, Teh Embarcadero
                    San Francisco, CA 94111
       26d.21.      BAE Systems
                    1101 Wilson Boulevard, Suite 2000
                    Arlington, VA 22209
       26d.22.      Summit Funding Group
                    2801 Network Boulevard, Suite 505
                    Frisco, TX 75034

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Neil Turney                                    2216 East 11th Street                               President                             100%
                                                      Tacoma, WA 98421



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.




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               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 See Number 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Western Metal Industry Pension Plan                                                                        EIN:
    (Bellingham Machinists; Tacoma Machinists)
    Boilermaker-Blacksmith National Pension Trust                                                              EIN:
    (Tacoma Boilermakers; San Francisco Boilermakers)
    Marine Carpenters Pension Fund                                                                             EIN:
    (San Francisco Carpenters)
    IBEW Pacific Coast Pension Fund                                                                            EIN:
    (San Francisco Electricians)
    Pacific Coast Shipyards Pension Fund                                                                       EIN:
    (San Francisco Laborers, Painters, Pipefitters, Sheet Metal Workers)
    I.A.M. National Pension Fund                                                                               EIN:
    (San Francisco Machinists)
    Operating Engineers Trust Fund for California                                                              EIN:
    (San Francisco Operators)
    Wetern Conference of Teamsters Pension Fund                                                                EIN:
    (San Francisco Teamsters)




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 17, 2018

 /s/ Neil Turney                                                        Neil Turney
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
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                                                                                  Debtor(s)                    Chapter      11

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $               125,753.48
              Prior to the filing of this statement I have received                                        $               125,753.48
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Preparation of a plan and disclosure statement and negotiations with creditors regarding the same.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 17, 2018                                                               /s/ James L. Day
     Date                                                                         James L. Day
                                                                                  Signature of Attorney
                                                                                  Bush Kornfeld LLP
                                                                                  601 Union St., Suite 5000
                                                                                  Seattle, WA 98101-2373
                                                                                  (206) 292-2110 Fax: (206) 292-2104
                                                                                  jday@bskd.com
                                                                                  Name of law firm




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                                              LIST OF EQUITY SECURITY HOLDERS - AMENDED
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Neil Turney                                                                                                                     100%
 2216 East 11th Street
 Tacoma, WA 98421


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 17, 2018                                                          Signature /s/ Neil Turney
                                                                                            Neil Turney

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                VERIFICATION OF CREDITOR MATRIX - AMENDED


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 17, 2018                                              /s/ Neil Turney
                                                                         Neil Turney/President
                                                                         Signer/Title




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                                CORPORATE OWNERSHIP STATEMENT (RULE 7007.1) - AMENDED

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Puglia Engineering Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 April 17, 2018                                                        /s/ James L. Day
 Date                                                                  James L. Day
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Puglia Engineering Inc.
                                                                       Bush Kornfeld LLP
                                                                       601 Union St., Suite 5000
                                                                       Seattle, WA 98101-2373
                                                                       (206) 292-2110 Fax:(206) 292-2104
                                                                       jday@bskd.com




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